                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 1 of 33




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 6
 7 Attorneys for Plaintiff
   ENVIRONMENTAL DEMOCRACY PROJECT
 8
                           UNITED STATES DISTRICT COURT
 9
10                             NORTHERN DISTRICT OF CALIFORNIA

11                                 SAN FRANCISCO DIVISION
12
   ENVIRONMENTAL DEMOCRACY                       Case No.
13 PROJECT, a California non-profit
14 corporation,                                  COMPLAINT FOR INJUNCTIVE
                                                 RELIEF, DECLARATORY RELIEF,
15                Plaintiff,                     AND CIVIL PENALTIES
16
           v.                                    [Clean Air Act 42 U.S.C. § 7604(a) Citizen
17                                               Suit]
   TESLA, INC.; TESLA MOTORS, INC.;
18 and DOES 1 through 20,
19
               Defendant.
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25
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28
     ___________________________________________________________________________________________
                                             COMPLAINT
                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 2 of 33




 1                                          INTRODUCTION
 2              1. This is a citizen suit brought under the Clean Air Act, 42 U.S.C. § 7604(a)(1), by
 3 Environmental Democracy Project (EDP), against Tesla, Inc., Tesla Motors, Inc., and DOES 1
 4 through 20 (collectively, Tesla). This complaint seeks relief based on Tesla’s ongoing failure to
 5 comply with the Clean Air Act in Tesla’s operation of an automotive manufacturing and
 6 assembly facility in Fremont, California (the Fremont Factory).
 7              2. Tesla’s Fremont Factory has violated the Clean Air Act hundreds of times since
 8 January 2021, emitting harmful pollution into the neighborhoods surrounding the Factory.
 9 Tesla’s Clean Air Act violations are ongoing.
10              3. As a result of Tesla’s violations, Tesla has exposed residents and workers in the
11 area surrounding the Fremont Factory to excess amounts of air pollution, including nitrogen
12 oxides, arsenic, cadmium, and other harmful chemicals. These exposures are extensive and
13 ongoing.
14              4. EDP seeks to put an end to Tesla’s Clean Air Act violations at the Fremont
15 Factory and penalize Tesla for its unlawful conduct, thereby deterring future noncompliance.
16                                          JURISDICTION
17              5. This Court has jurisdiction over this lawsuit under 28 U.S.C. § 1331
18 (federal question jurisdiction), 28 U.S.C. § 2201 (actions for declaratory relief), and 42
19 U.S.C. § 7604(a) (the Clean Air Act’s citizen suit provision).
20              6. The Act authorizes citizen suits against any person who has violated or is in
21 violation of conditions imposed by an operating permit for major sources of pollution,
22 commonly referred to as a Title V permit. See 42 U.S.C. § 7604(a)(1) & 7604(f)(4).
23              7. On March 4, 2024, EDP gave notice to Tesla, the United States Environmental
24 Protection Agency (EPA), and the State of California of its intent to file suit against Tesla, as
25 required by the Act. See 42 U.S.C. § 7604(b). A copy of the notice is attached to this complaint
26 as Attachment 1 and is incorporated by reference. More than sixty days have passed since EDP
27 provided the requisite notice, and thus a citizen suit may be filed.
28

                                                     2
                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 3 of 33




 1                                                VENUE
 2               8. Venue is proper in the Northern District of California pursuant to section 304 of
 3 the Clean Air Act, 42 U.S.C. § 7604, and 28 U.S.C. § 1391(b) because a substantial part of the
 4 events or omissions giving rise to the claim occurred in this District, and the Fremont Factory is
 5 located in this District.
 6                                 INTRADISTRICT ASSIGNMENT
 7               9. Assignment of this action to the San Francisco or Oakland Division is proper
 8 pursuant to Local Rule 3-2(d) because this is a civil action arising in Alameda County.
 9                                               PARTIES
10             10. Plaintiff Environmental Democracy Project is a California non-profit corporation
11 headquartered in Oakland, California. EDP is an environmental justice organization dedicated
12 to addressing and remedying exposures to pollution that disproportionately affect communities
13 of color. Members of EDP work and recreate near the Fremont Factory and are regularly
14 exposed to its illegal pollution. The effects of Tesla’s unlawful pollution on EDP’s members
15 include actual and threatened harm to their health as well as their professional and economic
16 interests in spending time near the Fremont Facility. Tesla’s pollution also injures EDP’s
17 members’ aesthetic and recreational enjoyment of the area near the Fremont Facility. Unless
18 this Court provides relief, EDP and its members will continue to be harmed.
19             11. EDP is a “person” within the meaning of section 304(a) of the Act. 42 U.S.C. §
20 7604(a).
21             12. The Court’s grant of the requested relief will redress the harm to EDP’s interests
22 by (1) requiring Tesla to comply with its air quality permit; (2) deterring Tesla and other
23 industrial facilities in the region from future violations of the Act; and (4) providing up to
24 $100,000 of civil penalties for mitigation projects to benefit the community.
25             13. Defendant Tesla, Inc. is a Delaware corporation. Tesla owns and/or operates the
26 automotive manufacturing facility located at 45500 Freemont Blvd, Fremont, California that is
27 the subject of this lawsuit.
28

                                                     3
                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 4 of 33




 1             14. Defendant Tesla Motors, Inc. is a Delaware corporation. Tesla owns and/or
 2 operates the automotive manufacturing facility located at 45500 Freemont Blvd, Fremont,
 3 California that is the subject of this lawsuit.
 4             15. Tesla is a “person” within the meaning of section 304(a) of the Act. 42 U.S.C. §
 5 7604(a).
 6             16.
 7                                    FACTUAL BACKGROUND
 8             17. Tesla owns and operates the Fremont Factory and is responsible for the Fremont
 9 Factory’s operations and resulting air emissions. The Fremont Factory is located at 45500
10 Fremont Boulevard, Fremont, CA 94538.
11             18. The Fremont Factory is one of the largest manufacturing sites in California. The
12 Fremont Factory has a long history of noncompliance with environmental laws, including the
13 Clean Air Act. The Fremont Factory’s two paint shops—the North Paint Shop and the South
14 Paint Shop—are the main sources of Tesla’s Clean Air Act violations since January 2021. The
15 paint shops emit significant amounts of hazardous and criteria air pollutants. Tesla has failed to
16 abate these emissions in violation of its air quality permit.
17             19. The Fremont Factory is a major source of air pollution subject to the Operating
18 Permit requirements of Title V of the Clean Air Act. See 42 U.S.C. §§ 7661(2) & 7661a. The
19 Fremont Factory is required to comply with the conditions imposed by an air permit known as a
20 “Permit to Operate” (the Air Permit), which was issued by the Bay Area Air Quality
21 Management District (the Air District).
22             20. Tesla is required to report its violations of the Air Permit to the Air District.
23 Between January 2022 and June 2023, Tesla reported more than 90 instances of noncompliance
24 with the Air Permit, which have caused excess emissions of nitrogen oxides, arsenic, cadmium,
25 and other harmful chemicals. Tesla’s self-reported violations of the Air Permit are prima facie
26 violations of the Clean Air Act. Tesla’s self-reported violations of the Clean Air Act are
27 attached as Exhibit A to Attachment 1. The self-reported violations in Exhibit A identify the
28 date on which the permit violations occurred and the activity underlying the violations. Tesla’s

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                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 5 of 33




 1 self-reported violations of federally enforceable air permit requirements occurred between
 2 January 2022 and the present and are ongoing.
 3             21. The Air District has determined that Tesla violated the Air Permit more than 163
 4 times between January 2021 and January 2024. The Air District’s notices of violations of the
 5 Air Permit are attached as Exhibit B to Attachment 1. These violations include the emissions
 6 of pollutants in excess of the Air Permit’s limits, failing to operate and maintain pollution
 7 abatement equipment, failing to report noncompliance with Air Permit requirements, and failing
 8 to conduct mandatory emissions testing.
 9             22. The Air District notices of violation in Exhibit B to Attachment 1 identify the
10 date on which the notices were issued. Tesla is in possession of the notices of violation from the
11 Air District. Tesla’s violations are ongoing.
12             23. Neither the Air District nor has the EPA has commenced and is diligently
13 prosecuting a civil action in a court of the United States or a State to require compliance with the
14 violations alleged in this action.
15                                      LEGAL BACKGROUND
16             24. The Clean Air Act, 42 U.S.C. §§7401-7671q, enacted in 1970 and amended in
17 1977 and 1990, establishes a comprehensive program to “protect and enhance the quality of the
18 Nation’s air resources so as to promote the public health and welfare and the productive capacity
19 of its population.” 42 U.S.C. § 7404(b)(1).
20             25. The Clean Air Act creates a framework for the development and operation of
21 federal, state, and local programs to prevent and control air pollution. 42 U.S.C. § 7401(a)(4).
22             26. The Act requires EPA to establish, review, and revise nationally applicable
23 health-based standards for a small class of common air pollutants (criteria pollutants), known as
24 national ambient air quality standards (NAAQS). 42 U.S.C. §§ 7408-7409. The NAAQS
25 establish permissible concentrations of those pollutants in the “ambient,” or outside air. See,
26 e.g., 40 C.F.R. § 81.305.
27             27. The Act requires each state to adopt, and submit to EPA for approval, a plan for
28 the implementation, maintenance, and enforcement of the NAAQS in each air quality control

                                                     5
                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 6 of 33




 1 region within the state. 42 U.S.C. § 4710. These plans are known as State Implementation
 2 Plans.
 3             28. State Implementation Plans contain controls on individual sources of air
 4 pollution, as well as specific enforceable strategies for government agencies to implement,
 5 attain, and maintain the NAAQS. 42 U.S.C. § 7410. Plans approved by EPA become federal
 6 law. Thus, violations of State Implementation Plan requirements applicable to individual
 7 sources of air pollution are subject to enforcement by citizens.
 8             29. Title V of the Clean Air Act, 42 U.S.C. §§ 7661-7661f, establishes an operating
 9 permit program for major sources of air pollution. 42 U.S.C. § 7661a(a); 40 C.F.R. §§ 71.1-
10 71.12 . Title V is implemented by the states under EPA oversight. The EPA has approved a
11 State Implementation Plan submitted by the Air District containing a Title V operating permit
12 program.
13             30. Title V of the Clean Air Act defines a major source as a facility that has the
14 potential to emit: (i) 10 tons or more per year of any hazardous air pollutant; (ii) 25 tons or more
15 per year of any combination of such hazardous air pollutants; or (ii) 100 tons per year or more of
16 any criteria air pollutants. 40 C.F.R. § 71.2; SIP Reg. 2-6-212.
17             31. A violation of any requirement of a Title V permit, such as the Air Permit, is a
18 violation of the Clean Air Act. See 42 U.S.C. § 7661a. The Clean Air Act imposes strict
19 liability upon owners and operators who violate the Act.
20             32. The Act authorizes citizen suits against any person who has violated or is in
21 violation of an “emission standard or limitation.” 42 U.S.C. § 7604(a)(1). The term “emission
22 standard or limitation” is defined in the Act to include an emission limitation; emission
23 standard; any standard or limitation established under an applicable state implementation plan
24 approved by the U.S. Environmental Protection Agency; and any requirement to obtain a permit
25 as a condition of operations. 42 U.S.C. § 7604(f). The conditions imposed by a Title V permit,
26 such as Tesla’s Air Permit, constitute “emission standard[s] or limitation[s]” under the Clean Air
27 Act and are enforceable by citizens in federal court. See 42 U.S.C. § 7604(a); id. § 7604(f)(4).
28             33. Tesla’s violations of the Air Permit are violations of the State Implementation

                                                     6
                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 7 of 33




 1 Plan including SIP Regulation 2-1-307 (failure to meet permit conditions) and the Clean Air
 2 Act.
 3                                              FIRST CLAIM
 4     Violations of Title V Permit, the State Implementation Plan, and the Clean Air Act—
 5                      Injunctive Relief, Declaratory Relief and Civil Penalties
 6             34. EDP realleges and incorporates by reference the previous paragraphs, as though
 7 fully alleged herein.
 8             35. Tesla’s Air Permit, issued under Title V of the Clean Air Act, contains federally-
 9 enforceable requirements for the Fremont Factory. Tesla has violated these requirements
10 hundreds of times since January 2021. Tesla’s violations were both self-reported and identified
11 by the Air District. The violations are set forth in Attachment 1, Exhibits A and B, which is
12 attached to this complaint and incorporated by reference. Tesla’s violations are ongoing.
13             36. Tesla’s violations of its Air Permit include the emissions of harmful pollutants in
14 excess of the Air Permit’s limits, failing to operate and maintain pollution abatement equipment,
15 failing to report noncompliance with Air Permit requirements, and failing to conduct mandatory
16 emissions testing.
17             37. Prior to filing this action, EDP served the requisite notice of intent to sue on
18 Tesla, EPA, and the State. Neither the Air District nor EPA has filed a civil action in federal or
19 state court to enforce the violations alleged in this action.
20             38. Unless ordered by this Court, Tesla will continue to violate the Air Permit and
21 the State Implementation Plan in violation of the Clean Air Act.
22                                         PRAYER FOR RELIEF
23               The Environmental Democracy Project requests that this Court enter judgment as
24               follows:
25               1.         An injunction prohibiting the Tesla from violating its Air Permit, the State
26 Implementation Plan, and the Clean Air Act;
27               2.         A declaration that Tesla violated and continues to violate its Air Permit, the
28 State Implementation Plan, and the Clean Air Act;

                                                       7
                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 8 of 33




 1              3.       An order requiring Tesla to pay civil penalties, up to $121,275 per day, or
 2 an amount adjusted for inflation, for each violation of the Clean Air Act, and order that up to
 3 $100,000 of such penalties be used in beneficial mitigation projects consistent with the Clean
 4 Air Act, 42 U.S.C. § 7604(g);
 5              4.       An order requiring Tesla to pay EDP’s costs of litigation, including
 6 reasonable attorney and expert witness fees; and
 7              5.       An award of such other and further relief as this Court deems just and
 8 proper.
 9
10 DATED: May 13, 2024                      LEXINGTON LAW GROUP
11
12
13                                                 /s/ Lucas Williams
                                            Lucas Willaims
14                                          Attorneys for Plaintiff
                                            ENVIRONMENTAL DEMOCRACY
15
                                            PROJECT
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Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 9 of 33




     Attachment 1
            Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 10 of 33




                                          March 4, 2024

BY CERTIFIED MAIL – RETURN RECEIPT REQUESTED

Elon Musk, CEO
Tesla, Inc.
c/o The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, Delaware, 19801

Re:    Notice of Intent to File Suit Under the Clean Air Act

Dear Mr. Musk:

       Tesla, Inc.’s automotive manufacturing facility in Fremont, California (the Fremont
Factory) is in violation of the Clean Air Act. Tesla’s Fremont Factory has violated its air quality
permit hundreds of times since January 2021, emitting harmful pollution into the ambient air and
neighborhoods surrounding the facility. Tesla’s Clean Air Act violations are ongoing.

        Environmental Democracy Project (EDP), an environmental justice nonprofit
corporation, intends to file suit to enjoin the Fremont Factory’s Clean Air Act violations and
impose civil penalties on Tesla for its unlawful conduct. The Clean Air Act requires that citizens
give 60 days’ notice of their intent to file suit under the Act. 42 U.S.C. § 7604(b)(1)(A). EDP’s
members live and work near the Fremont Factory and are injured by Tesla’s Clean Air Act
violations. EDP hereby provides notice to Tesla of EDP’s intent to file suit against Tesla under
the Clean Air Act.

I.     Background

       The Clean Air Act is designed to “protect and enhance the quality of the Nation’s air
resources so as to promote the public health and welfare and productive capacity of its
population.” 42 U.S.C. § 7401(b)(1). Tesla owns and operates the Fremont Factory and is
responsible for the Fremont Factory’s operations and resulting air emissions. The Fremont
Factory is a “major source” of air pollution subject to the Operating Permit requirements of Title
V of the Clean Air Act. See 42 U.S.C. §§ 7661(2), 7661a. The Fremont Factory is required to
comply with the conditions imposed by an air permit known as a “Permit to Operate” (the Air
Permit), which was issued by the Bay Area Air Quality Management District (the Air District).

II.    Tesla’s Violations of Emissions Standards and Limitations under the Clean Air Act

       Tesla has violated and continues to violate the Air Permit’s requirements. A violation of
any requirement of a Title V permit, such as the Air Permit, is a violation of the Clean Air Act.
See 42 U.S.C. § 7661a. The Clean Air Act “imposes strict liability upon owners and operators
who violate the Act.” Pound v. Airosol Co., Inc., 498 F.3d 1089, 1097 (10th Cir. 2007).
               Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 11 of 33


Tesla, Inc. – Prior Notice of Citizen Suit under the Clean Air Act                             Page 2
March 4, 2024


           The Clean Air Act entitles any person to sue for violations of “an emission standard or
   limitation under [the Act]” or “an order issued by the Administrator or a State with respect to
   such a standard or limitation.” 42 U.S.C. § 7604(a)(1). The conditions imposed by a Title V
   major source operating permit, such as the Air Permit, constitute “emission standard[s] or
   limitation[s]” under the Clean Air Act and are enforceable by citizens in federal court. See 42
   U.S.C. § 7604(a); id. § 7604(f)(4).

            EDP intends to file suit based on each of Tesla’s violations of the Air Permit described
   below. Tesla is required to report its violations of the Air Permit to the Air District. Between
   January 2022 and June 2023, Tesla reported at least 90 instances of noncompliance with the Air
   Permit, which have caused excess emissions of nitrogen oxides, arsenic, cadmium, and other
   harmful chemicals. Tesla’s self-reported violations of the Air Permit are prima facie violations
   of the Clean Air Act. See Sierra Club v. Pub. Serv. Co. of Colorado, Inc., 894 F. Supp. 1455,
   1461 (D. Colo. 1995); Grand Canyon Trust v. Public Service Co. of New Mexico 294 F.Supp.2d
   1246, 1247 D.N.M. 2003); Concerned Citizens Around Murphy v. Murphy Oil USA, Inc., 686 F.
   Supp. 2d 663, 680 (E.D. La. 2010). Tesla’s self-reported violations of the Clean Air Act at issue
   in this letter are attached as Exhibit A. The self-reported violations in Exhibit A identify the
   date on which the permit violations occurred and the activity underlying the violations. EDP
   intends to enforce each of Tesla’s self-reported violations of federally enforceable Air Permit
   requirements that occurred between January 2022 and the present, as well as violations of
   federally enforceable Air Permit conditions reported after the date of this letter.

          In addition, the Air District has determined that Tesla violated the Air Permit at least 163
   times between January 2021 and January 2024. The Air District’s notices of violations of the
   Air Permit are attached as Exhibit B. These violations include the emissions of harmful
   pollutants in excess of the Air Permit’s limits, failing to operate and maintain pollution
   abatement equipment, failing to report noncompliance with Air Permit requirements, and failing
   to conduct mandatory emissions testing.

           The Air District has not brought any action in federal court to enforce these violations—
   leaving it to citizens like EDP to bring their own enforcement action. See Baughman v. Bradford
   Coal Co., Inc., 592 F.2d 215, 218 (3d Cir. 1979) (“Congress intended citizen suits to both goad
   the responsible agencies to more vigorous enforcement of the anti-pollution standards and, if the
   agencies remained inert, to provide an alternate enforcement mechanism.).

           The Air District notices of violation in Exhibit B identify the date on which the notices
   were issued. Tesla is in possession of the notices of violation from the Air District, and Tesla is
   the only entity that knows precisely when the violations occurred. Tesla thus has sufficient
   information to identify the Clean Air Act violations alleged in this presuit notice. EDP intends to
   enforce each of the federally enforceable violations identified by the Air District from January
   2021 through January 2024, as well as violations that are identified after the date of this letter.

   III.     Relief to Be Requested

           To remedy Tesla’s violations, EDP will ask the court to order Tesla to pay
   civil penalties up to the amount authorized by Clean Air Act, i.e., $121,275 per day. See 88 Fed.
               Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 12 of 33


Tesla, Inc. – Prior Notice of Citizen Suit under the Clean Air Act                               Page 3
March 4, 2024


   Reg. 89309 (December 27, 2023). Tesla is liable for penalties on each day the violations occur.
   Penalties are calculated based on statutory factors including Tesla’s size and compliance history.
   See 42 U.S.C. § 7413(e). EDP will also seek declaratory relief confirming that Tesla has
   violated and continues to violate the Clean Air Act. EDP will also seek injunctive relief that
   requires Tesla to take all actions necessary to immediately comply with the Air Permit and Clean
   Air Act. Finally, EDP intends to seek the recovery of costs, including attorney and expert fees,
   as authorized by the Clean Air Act.

   IV.     The Entity Giving Notice and Potential Resolution of Issues During the Sixty-Day
           Period

          The entity giving notice is the Environmental Democracy Project, a California nonprofit
   corporation, headquartered in Oakland, California at 66 Franklin Street, Oakland, California
   94607. EDP is represented by legal counsel and their contact information is:

           Lucas Williams
           Jacob Janzen
           Lexington Law Group, LLP
           503 Divisadero Street
           San Francisco, CA 94117-2212
           Telephone: 415-913-7800
           lwilliams@lexlawgroup.com
           jjanzen@lexlawgroup.com

            During the 60-day notice period, EDP is willing to discuss effective remedies for the
   violations of the Clean Air Act at issue in this notice as well as Tesla’s ongoing violations of the
   Act. We strongly suggest that you initiate these discussions immediately with legal counsel
   before the end of the 60-day notice period. EDP does not intend to delay the filing of a
   complaint if the discussions fail to resolve the matter within the sixty-day notice period, and we
   intend to seek all appropriate relief, including injunctive relief, penalties, and all costs of
   litigation.

   V.      Conclusion

           We believe that this notice provides information sufficient for you to identify the
   violations of the Clean Air Act, the activity alleged to be in violation, and the location of the
   alleged violations. Additional information, including information not yet available to EDP, may
   reveal additional violations, which this letter intends to cover.
                     Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 13 of 33


      Tesla, Inc. – Prior Notice of Citizen Suit under the Clean Air Act          Page 4
      March 4, 2024


         We look forward to hearing from you.


                                                       Sincerely,

                                                       /s/                 d
                                                       Lucas Williams

cc:      Tesla Motors, Inc.
         California Registered Corporate Agent (1505)
         C.T. Corporation System
         330 North Brand Boulevard, Suite 700
         Glendale, CA 91203
         (Certified Mail/Return Receipt Requested)

         Hon. Michael S. Regan, Administrator
         U.S. Environmental Protection Agency
         Ariel Rios Building
         1200 Pennsylvania Avenue, N.W.
         Mail Code: 1101A
         Washington DC 20460
         (Certified Mail/Return Receipt Requested)

         Hon. Chairman Liane M. Randolph
         Executive Officer
         California Air Resources Board
         1001 I Street
         Sacramento, CA 95814
         (Certified Mail/Return Receipt Requested)

         Hon. Martha Guzman
         Regional Administrator
         Office of Regional Administrator
         U.S. Environmental Protection Agency
         Region 9
         75 Hawthorne Street
         Mail Code: ORA-1
         San Francisco, CA, 94105
         (U.S. Mail)

         Hon. Gavin Newsom
         Governor of California
         State Capitol Building
         Sacramento, CA 95814
         (U.S. Mail)
               Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 14 of 33


Tesla, Inc. – Prior Notice of Citizen Suit under the Clean Air Act          Page 5
March 4, 2024


   Alexander Crockett
   District Counsel
   Bay Area Air Quality Management District
   375 Beale Street, Suite 600
   San Francisco, CA 94105
   (U.S. Mail)
Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 15 of 33




    Exhibit A
           Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 16 of 33
                                                                  45500 Fremont BLVD., Fremont CA 94578
                                                                         P 650 681 5100 F 650 681 5101




ATTACHMENT 3: LIST OF DEVIATIONS DURING THIS PERIOD (JANUARY 1 ST, 2022 THRU JUNE 30TH, 2022)
                                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 17 of 33


Attachment 3 ‐
Deviations List
 Time Period      January 1, 2022 through June 30, 2022

  Source No       Deviation Summary                                                            Resolution Summary                                                            Date of Discovery   Compliance Status     Shop/Area


                  Tesla conducted Air District approved source testing for criteria pollutants
    S‐4045        and metals on Furnace 2/Abatement 2 (Filter House A‐30194) between
                  October 26 through October 28, 2021. Testing was conducted by the            Tesla repaired the filters in the filter house and source retests were
                                                                                                                                                                                 1/6/2022          In Compliance         Castings
                  source testing contractor (Alliance Source Testing, LLC) and results were conducted to demonstrate compliance.
    S‐4046
                  submitted to the Source Testing Division on December 27, 2021 (NST‐
   A‐30193
                  6782).
   A‐30194
    S‐3008
                  There were unforeseen breakdown/malfunction events at NPS Booths &           Tesla’s Plant Operations team investigated the issue on February 2nd
    S‐3014        oven which caused the bypass damper for booths/basecoat oven to open         2022 and found no issues or concerns with the substation. As a corrective
                                                                                                                                                                                1/21/2022          In Compliance            NPS
    S‐3016        (Note that the RTO temperature was not affected). This was caused by an      and preventative action however, the Tesla team replaced the breaker at
                  outage from Substation 16 being tripped.                                     the station with a new breaker.
    S‐3015
   A‐30180
   A‐30181         There were unforeseen breakdown/malfunction events at the South Paint
                  Shop that caused the A‐30180, A‐30181, and A‐30182 to lose
                                                                                          Tesla’s Plant Operations team investigated the issue on February 2nd
                  temperature. During the emergency shutdowns , the VOCs were
                                                                                         2022 and found no issues or concerns with the substation. As a corrective
                  recirculated back to the booth instead of being routed to abatement                                                                                           1/22/2022          In Compliance            SPS
                                                                                         and preventative action however, the Tesla team replaced the breaker at
   A‐30182        systems as designed by closing the damper to the abatement systems and
                                                                                         the station with a new breaker.
                  routing all air back to the booth. The shutdowns were caused by an
                  outage from a feeder in Substation 16 being tripped.



    S‐4036


     S‐4037
     S‐4038
     S‐4039
     S‐1002
     S‐1007
    A‐30180
    A‐30181
    A‐30182
    A‐30183
    A‐30192
    A‐1007                                                                                     PG&E expressed that the cause for this event as a mylar balloon strike
      S‐57        There were unforeseen malfunctions at various devices at the Fremont         which exercised their safety systems and resulted in a loss of factory
                                                                                                                                                                                1/24/2022          In Compliance     NPS, SPS, Plastics
      S‐58        Factory due to a PG&E power failure event.                                   power through the reset process. Tesla is looking into potential changes to
      S‐59                                                                                     reduce vulnerability to power outages.
      S‐65
    A‐30170
     S‐3008
     S‐3014
     S‐3015
     S‐3016
S‐4006(S‐32006)
     S‐3009
    S‐32010
    A‐3008
     S‐4045
     S‐4046
    A‐30193
    A‐30194
                  There was an unforeseen malfunction at the Prime Wheel/TO (Zone 1) of
                  the 3 wet‐system at the South Paint Shop. The TO (A‐30180) lost
                  temperature during production which triggered an emergency shutdown. Upon investigation, maintenance identified a potential issue with the
   A‐30180        This malfunction resulted in the temperature of the TO (A‐30180) to drop spray booth air flow switch. As a corrective action and preventative action          1/26/2022          In Compliance            SPS
                  below the permitted temperature of 1400 °F and the VOCs were             the air flow switch was replaced on January 30th 2022.
                  recirculated back to the booth instead of being routed to abatement
                  systems.


    S‐3008




    S‐3014        There were unforeseen breakdown/malfunction events at NPS Booths &
                  oven (S‐3008, S‐3014, S‐3016 and S‐3015) which caused the bypass
                  damper for booths/basecoat oven to open (Note that the RTO                   The outage was caused by Substation 16 being tripped. Tesla’s Plant               2/2/2022          In Compliance           NPS
                  temperature was not affected). The outage was caused by Substation 16        Operations team investigated the issue on February 2nd 2022 and walked
                  being tripped.                                                               all the systems connected to this specific bus and found no indications of
    S‐3016
                                                                                               any abnormal conditions. No physical signs of any faults were found and
                                                                                               no disturbance to the power at the time of the fault was identified. The
                                                                                               power metering devices also did not show any abnormalities.

    S‐3015                                                                                     As a corrective and preventative action however, the Tesla team replaced
                                                                                               the breaker at the station with a new breaker. Further investigation of the
                                                                                               area was conducted but nothing abnormal was detected. Tesla continues
                                                                                               to closely monitor the substation for issues.
   A‐30180
                  There were unforeseen breakdown/malfunction events at the South Paint
                  Shop that caused the A‐30180, A‐30181, and A‐30182 to lose
   A‐30181        temperature. During the emergency shutdowns, the VOCs were                                                                                                     2/2/2022          In Compliance           SPS
                  recirculated back to the booth instead of being routed to abatement
                  systems. This was caused by an outage from Substation 16 being tripped
   A‐30182
                                Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 18 of 33


  Source No        Deviation Summary                                                             Resolution Summary                                                              Date of Discovery   Compliance Status    Shop/Area


    S‐3008         There were unforeseen breakdown/malfunction events at NPS Booths &
                                                                                                 The outage was caused by Substation 1B being tripped. Upon
                   oven (S‐3008, S‐3014, S‐3016 and S‐3015) which caused the bypass
    S‐3014                                                                                       investigation, Tesla believes the root cause to be a faulty transformer. As a
                   damper for booths/basecoat oven to open (Note that the RTO
                                                                                                 corrective and preventative action Tesla’s Plant Operations team replaced           2/6/2022          In Compliance         NPS
                   temperature was not affected). The outage was caused by Substation 1B
    S‐3016                                                                                       the transformer on the substation in April 2022. In the interim the
                   being tripped. Upon investigation, Tesla believes the root cause to be a
                                                                                                 substation has been taken offline to prevent reoccurrence.
    S‐3015         faulty transformer.

                                                                                                 The root cause was screws that were loose that allowed the motor shaft
                   There was an unforeseen breakdown/malfunction event ( at the South
                                                                                                 to spin without the linkage on desorb damper opening or closing.
                   Paint Shop that caused A‐30182 to lose temperature. During the
                   emergency shutdown , the VOCs were recirculated back to the booth
    A‐30182                                                                                      As a corrective and preventative action, the desorb damper was manually             2/8/2022          In Compliance         SPS
                   instead of being routed to abatement systems. The root cause were
                                                                                                 closed and the screws were tightened. Maintenance checked to ensure
                   screws that were loose that allowed the motor shaft to spin without the
                                                                                                 the motor shaft and damper linkage moved in unison by forcing the
                   linkage on desorb damper opening or closing.
                                                                                                 damper to open.

                                                                                         The root cause was an unexpected drop in temperature of the RTO as the
                   There were two unforeseen breakdown/malfunction events at North paint
                                                                                         exhaust fan kicked into full auto mode as a part of production restart
                   shop which affected the booths/ovens and caused the bypass dampers to
                                                                                         which caused a large temperature fluctuation resulting in a loss of
    A‐3008         open. The events affected the RTO (A‐3008) also, but the RTO                                                                                                     2/21/2022          In Compliance         NPS
                                                                                         production. As a preventative action Tesla has established a protocol to
                   temperature recovered quickly, and therefore these periods can be
                                                                                         gradually increase fan speed before setting to auto mode, which will
                   classified as allowable temperature excursions.
                                                                                         eliminate large temperature fluctuations within the TO.
                   There was an unforeseen breakdown/malfunction event at NPS E‐coat
                   oven (S‐32006/S‐4006). Cars stopped on oven chain exiting the oven and
                                                                                              As a corrective and preventative action, both Tesla’s controls and
                   were not able to drop into the strip‐out. This caused a loss of production
                                                                                              maintenance team revamped the control logic to prevent this from
S‐32006/S‐4004     at the e‐coat oven and the bypass damper opened up during this event.                                                                                            2/24/2022          In Compliance         NPS
                                                                                              happening in the future. Tesla also will continue monitoring skid stack for
                   The root cause is suspected to be a downstream breakdown in the manual
                                                                                              possible root causes.
                   sealer line which caused a blockage and subsequent production loss at the
                   E‐coat oven.
                   There were unforeseen breakdown/malfunction events at the NPS E‐Coat
                                                                                              Tesla’s maintenance team propped the lifter up, dismantle the damaged
                   Oven (S‐32006/S‐4004) which caused the bypass damper for
                                                                                              sprocket/spine and reassembled with a new sprocket/spine which was
S‐32006/S‐4004     booths/basecoat oven to open (Note that the RTO temperature was not                                                                                               3/2/2022          In Compliance         NPS
                                                                                              available on site. As a preventative action, Tesla is in talks with a new
                   affected). The root cause was a failure of plastic sprocket and compressed
                                                                                              vendor to potentially source a local sprocket/spine.
                   fiberglass spine chain (manufactured in Germany).

                   There was an unforeseen malfunction at the Prime and Clearcoat Oven
                   Thermal Oxidizer (TO) of the 3 wet‐system at the South Paint Shop. The
                   Prime and Clearcoat Oven TO (A‐30183) lost temperature during
                                                                                                 As a corrective and preventative action, the air flow switch was replaced
    A‐30183        production which triggered an emergency shutdown. This malfunction                                                                                                3/8/2022          In Compliance         SPS
                                                                                                 with an on hand spare part.
                   resulted in the temperature of the TO (A‐30183) to drop below the
                   permitted temperature of 1400 °F. The root cause of the issue was found
                   to be a defective air flow switch.

                   The Sealer Oven TO (A‐1007) lost temperature during production which
                   triggered an emergency shutdown. This malfunction resulted in the       As a corrective and preventative action the defective TAR thermocouple
                   temperature of the TO (A‐1007) to drop below the permitted temperature was replaced. The defective TAR thermocouple was recently installed by
 S‐1007/A‐1007                                                                                                                                                                      3/14/2022          In Compliance         SPS
                   of 1400 °F. The root cause of the event is a defective TAR thermocouple an external contractor on 2/25/22 and thus was probably a defective part
                   that was incorrectly recording temperatures above the high setpoint of  from the manufacturer.
                   the TO causing a shutdown.

                    There was an unforeseen malfunction at the Sealer Oven and TO (S‐
                   1007/A‐1007) at the South Paint Shop. The Sealer Oven TO (A‐1007) lost
                                                                                                 All water was removed, and the water damaged parts of the control panel
                   temperature during production which triggered an emergency shutdown.
                                                                                                 were replaced. Tesla is evaluating replacing sprinkler heads with higher
 S‐1007/A‐1007     This malfunction resulted in the temperature of the TO (A‐1007) to drop                                                                                          3/14/2022          In Compliance         SPS
                                                                                                 temperature limits as well as sealing off conduits to prevent water
                   below the permitted temperature of 1400 °F. The root cause of the event
                                                                                                 intrusion into the system.
                   is water damage to the zone 1 power cabinet which houses controls for
                   the sealer oven and its respective thermal oxidizer.

                                                                                                 The cause was a loose wire on the damper motor control circuit. The wire
                   There was an unforeseen malfunction at the prime & Clearcoat Oven TO
                                                                                                 was inserted back and tightened down promptly. The dampers were
                   (A‐30183) of the 3 wet‐system at the South Paint Shop. The TO lost
                                                                                                 inspected to ensure actuating correctly. The issue was resolved, and the
                   temperature during production due to a burner fault which triggered an
S‐4039/A‐30183                                                                                   oven was started back up within 55 mins. As a preventative action, the             3/22/2022          In Compliance         SPS
                   emergency shutdown of the incinerator and the ovens. This malfunction
                                                                                                 South Paint Shop team inspected the entire cabinet for any loose wires to
                   resulted in the temperature of the TO (A‐30183) to drop below the
                                                                                                 avoid any similar incidents. The team also formulated a plan for annual
                   permitted temperature of 1400 °F.
                                                                                                 panel check for CY2022.
                   There was an unforeseen malfunction that required a shutdown of the
                   Prime and Clear Oven (S‐4039) and the prime & Clearcoat Oven TO (A‐
                                                                                                 The collision was due to a faulty stopper, as a preventative action a new
                   30183) of the 3 wet‐system at the South Paint Shop. This shutdown
                                                                                                 stopper was installed internally on 3/26/22 and validated. Tesla has not
                   resulted in the temperature of the TO (A‐30183) to drop below the
S: ‐4039/A‐30183                                                                                 had issues with the stopper since operation began in the South Paint               3/25/2022          In Compliance         SPS
                   permitted temperature of 1400 °F. Two vehicle bodies on the conveyor
                                                                                                 Shop. As a preventative action Tesla has added visual checks of the
                   line collided on 3/25/2022. As a result, to safely enter the oven and clear
                                                                                                 stopper to monthly preventative maintenance.
                   the vehicle bodies, maintenance initiated an emergency shutdown of the
                   oven and TO.




    S‐4045         Tesla exceeded permitted NOx limits at the castings operation. Tesla
                   tuned the burners at both furnaces during commissioning and operational Tesla has reached out to multiple vendors and the furnace manufacturer
                   fine‐tuning, activities and subsequently, conducted a new source test in to assist in identifying options for further NOx reduction. All third‐party
                   Sept/October 2021. The source test demonstrated a 27% and 29%            vendors and the manufacturer confirmed that the current NOx ppm as
                   reduction in NOx at Furnace 1 and Furnace 2 respectively. On analysis of achieved during the most recent source test is the lowest achievable for                 4/1/2022        Interim Compliance    Castings
                   annual emissions data following the date of source testing (Post October stack melter type furnaces with the equipment available. Tesla is now in
                   1st, 2021), it was identified that the daily limit specified in BAAQMD   process of working with a 3rd party vendor for a more novel solution. A
                   Regulation 2 Rule 2 of 10 pounds per day were potentially exceeded at    permit application has been submitted to trial this solution at Furnace 1.
    S‐4046         Furnaces 1 and 2.




                                                                                             The maintenance team replaced the motor on April 10th, 2022 after an
                                                                                             initial investigation suspected the motor to be the root cause; however,
                   There was an unforeseen malfunction at the South Paint Shop E‐coat
                                                                                             they still experienced the issues with actuating of the damper. The team
                   Thermal Oxidizer (TO). There were two units in the oven during the event.
S‐1002/A‐30192                                                                               inspected the damper with the contractor that installed the damper on                   4/4/2022          In Compliance         SPS
                   The malfunction caused all TO burners to fault and shut off. The root
                                                                                             April 17th. Additionally, as a preventative action, the team inspected E‐
                   cause is suspected to be a jammed linkage assembly.
                                                                                             coat incinerator dampers and switches to ensure all flow switches and
                                                                                             dampers are functioning correctly in auto position.
                              Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 19 of 33


  Source No      Deviation Summary                                                           Resolution Summary                                                              Date of Discovery   Compliance Status   Shop/Area



                 There was an unforeseen malfunction at the Clearcoat (CC) Wheel/TOs
                 (Zone 3) of the 3 wet‐system at the South Paint Shop. The TO (A‐30182)
                 lost temperature during production which triggered an emergency
                                                                                             Maintenance replaced the caster wheel promptly. As a preventative
                 shutdown. This malfunction resulted in the temperature of the TO (A‐
                                                                                             action, the maintenance will also inspect the KCR wheel bearing on a
   A‐30182)      30182) to drop below the permitted temperature of 1400 °F. During the                                                                                           4/6/2022          In Compliance        SPS
                                                                                             timely basis and inspect KCR caster assembly, motors and gearboxes
                 emergency shutdowns noted above, the VOCs were recirculated back to
                                                                                             during system shutdown.
                 the booth instead of being routed to abatement systems. Maintenance
                 identified the issue with the defective caster wheel which caused KCR not
                 supplying air to the booth.



                 There were unforeseen breakdown/malfunction event at the NPS
                 Abatement (A‐3008) which caused the NPS to enter an emergency
                                                                                             As a preventative measure Tesla has inspected all temperature controllers
                 shutdown and the bypass damper for booths and ovens to open (Note
                                                                                             to ensure the limits on the controller match the correct limits. All
                 that the RTO temperature was not affected). The root cause of the
   A‐3008                                                                                    documentation of the event was provided to the district and visually                4/6/2022          In Compliance        NPS
                 emergency shutdown was the TO bed temperature spiking above 480 °F.
                                                                                             verified upon their site visit on 4/14/2022. This event was due to a first of
                 The cause of the spike is suspected to be due to the fact the NPS was
                                                                                             its kind breakdown event associated with a temperature controller.
                 restarting from a 4 day shutdown coupled with a temperature controller
                 issue.


                 There was an unforeseen malfunction at the Clearcoat (CC) Wheel/TOs
                 (Zone 3) of the 3 wet‐system at the South Paint Shop. The TO (A‐30182)
                 lost temperature during production which triggered an emergency
                                                                                             Maintenance took intermediate steps to bring the friction pad to working
                 shutdown. This malfunction resulted in the temperature of the TO (A‐
   A‐30182                                                                                   order. As a preventative action the friction pad was replaced during a              4/7/2022          In Compliance        SPS
                 30182) to drop below the permitted temperature of 1400 °F. During the
                                                                                             weekend shut down on 4/17/2022.
                 emergency shutdowns noted above, the VOCs were recirculated back to
                 the booth instead of being routed to abatement systems. The root cause
                 was diagnosed to be a damaged friction pad.


    S‐3008

    S‐3014                                                                               The motor was inspected, and a call was made to swap the motor out
                                                                                         after verifying that the fault was not due to the drive or any other
                 There was an unforeseen breakdown/malfunction event at the NPS which
    S‐3016                                                                               components (The windings of the motor was damaged). A new motor was
                 affected the RTO (temperature dropped just below 1400 °F ) and caused
                                                                                         installed and back in action – however due to this breakdown, the RTO
                 the bypass damper for the booths/ovens to open. The outage was caused
    S‐3015                                                                               was idling with no active production, due to which the RTO temperature                  5/4/2022          In Compliance        NPS
                 by a fault on the motor which is on the cross‐chain exit of the topcoat
                                                                                         dropped just below 1400 °F which resulted in the bypass dampers
                 oven, which then caused the ovens to back‐up with cars as production
    S‐4006                                                                               opening. The RTO temperature was immediately revived, and production
                 was stopped.
                                                                                         restarted soon. Note that this was a completely unforeseen malfunction
    S‐3009                                                                               for this cross‐chain exit motor which has had no prior instances of failure.

   S‐32010


                 There were two unforeseen malfunctions at the A‐30180 of the 3 wet‐
                 system at the South Paint Shop. The TO (A‐30180) lost temperature
                 during production which triggered an emergency shutdown. This           To promptly solve the issue and restart the system for the first fault, the
                 malfunction resulted in the temperature of the TO (A‐30180) to drop     controls team routed the temperature signal through the high limit
                 below the permitted temperature of 1400 °F. During the emergency        temperature thermocouple to get correct temperature reading. Upon
   A‐30180       shutdowns , the VOCs were recirculated back to the booth instead of     discovery of the second fault, the controls team tightened the wires                    5/4/2022          In Compliance        SPS
                 being routed to abatement systems. The first fault was triggered by the immediately. As a corrective action, the defective thermocouple was
                 PLC thermocouple seeing temperature above the high set point, which     replaced on May 9th. Documentation of the repair was provided to the
                 caused the system emergency shutdown. The second fault was a result of district via information request on May 10th 2022.
                 the loose wires connecting the temperature signals to the high limit
                 temperature thermocouple.



                 There was an unforeseen malfunction at the prime and Clear Coat (CC)
                 oven TO (A‐30183) of the 3 wet oven (S‐4039) at the South Paint Shop.
                                                                                           The maintenance team immediately purged the 3 wet oven and
                 The TO (A‐30183) lost temperature during production, which triggered an
                                                                                           successfully ignited the incinerator and oven zone 1 and 2. As a
                 emergency shutdown. This malfunction resulted in the temperature of the
A‐30183/S‐4039                                                                             preventative action, the team checked all air flow switches of the 3 wet              5/6/2022          In Compliance        SPS
                 TO (A‐30183) to drop below the permitted temperature of 1400 °F. The
                                                                                           oven and are doing routine planned maintenance to ensure proper
                 shutdown was triggered by an air flow switch fault resulting in the 3 wet
                                                                                           functioning.
                 oven incinerator and zone 1 & 2 dropping out, which caused the system
                 emergency shutdown.




                 There were two unforeseen malfunctions at the South Paint Shop E‐coat
                 Thermal Oxidizer (TO). For the first malfunction (May 8th, 2022), the heat
                                                                                            Upon investigation of the first event, the maintenance team manually
                 exchange damper of the Ecoat TO had a mechanical failure causing the TO
                                                                                            placed the damper into the correct closed position and restarted the
                 to lose temperature. The second malfunction (May 9th, 2022) was due to
                                                                                            incinerator burner with monitoring until production release was achieved.
                 the damper adjustment for oven temperature causing unexpected loss of
                                                                                            For the second event, the maintenance
S‐1002/A‐30192   air flow which faulted the TO and the burner. The root cause of the first                                                                                       5/8/2022          In Compliance        SPS
                                                                                            team manually adjusted the damper to the correct position and restarted
                 event is the fresh air heat exchange damper of the Ecoat oven not being in
                                                                                            the ovens. To prevent the recurrence of these specific events, the South
                 correct position due to an inadvertent misalignment by South Paint Shop
                                                                                            Paint Shop team is planning to mark the location of the bypass dampers to
                 contractor Therma. The second event was due to the damper adjustment
                                                                                            ensure correct damper adjustment.
                 to slightly increase the oven temperature causing unexpected loss of air
                 flow, which faulted out the TO and all the burners.



    S‐3008
                                                                                          The pecker head was drained, the leads were inspected and allowed time
    S‐3014
                                                                                          to dry. Afterwards the motor was able to start without issue. The ARU
    S‐3016       There was an unforeseen breakdown/malfunction event at the NPS which room is airtight with sealed door that cannot be opened during
                 affected the RTO (temperature dropped just below 1400 °F ) and caused production and thus the chances of incidental water leaks are minimal.
    S‐3015       the bypass damper for the booths/ovens to open. The outage was caused There is no history of a similar event corresponding to this motor and thus               5/9/2022          In Compliance        NPS
                 by water ingress into the pecker head of the ARU motor. As a result, the was a first of its kind event. As a result, maintenance has decided to
    S‐4006       motor faulted causing a production loss.                                 include inspecting the pecker head for potential condensation as part of
                                                                                          the quarterly PM. Note that this PM is above and beyond what is
    S‐3009
                                                                                          recommended by the manufacturer.
   S‐32010
                               Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 20 of 33


  Source No      Deviation Summary                                                             Resolution Summary                                                              Date of Discovery   Compliance Status   Shop/Area



                 There was an unforeseen malfunction at the Clearcoat (CC) Booth TO (A‐
                 30181) at the South Paint Shop. The TO (A‐30182) lost temperature
                 during production, which triggered an emergency shutdown. This         The breaker was reset, and the system restarted without issue. As a
   A‐30182                                                                                                                                                                        5/11/2022          In Compliance        SPS
                 malfunction resulted in the temperature of the TO (A‐30182) to drop    preventative action the breaker has been changed.
                 below the permitted temperature of 1400 °F. The shutdown was triggered
                 by a circuit breaker issue that prevented the system from being reset.



   A‐30180
                 There were unforeseen breakdown/malfunction events at the South Paint The fire safety team performed the necessary emergency response
                 Shop that caused the A‐30180, A‐30181, and A‐30182 to lose temperature activity to rectify the situation including draining the water and recharging
                 (1400 F) and the dampers to momentarily open. The shutdown was                 the line. As a corrective action, Tesla has identified the need for a branch
   A‐30181                                                                                                                                                                        5/11/2022          In Compliance        SPS
                 triggered by a fire alarm being set off precipitated by a car door hitting the line and the fire safety team investigated to modify the sprinkler line to
                 sprinkler system. There were two main (waterflow) alarms that were             disconnect the fire alarm with the booth system so that the booth does
                 triggered with the unexpected event of the car door hitting the system.        not get affected by any similar accident going forward.
   A‐30182



                  There was an unforeseen malfunction at the prime and Clear Coat (CC)
                 oven TO (A‐30183) of the 3 wet oven (S‐4039) at the South Paint Shop.
                 The TO (A‐30183) lost temperature during production, which triggered an The root cause was a power outage. As a preventative action Tesla has
A‐30183/S‐4039   emergency shutdown. This malfunction resulted in the temperature of     investigated the power systems and continues to monitor the system for                   5/13/2022          In Compliance        SPS
                 the TO (A‐30183) to drop below the permitted temperature of 1400 °F. . anomalies.
                 The loss in temperature was caused by a power outage which caused all
                 incinerator burners to fault resulting in a loss of production.


    S‐3008
    S‐3014       There was an unforeseen breakdown/malfunction event at the NPS which
                 affected the RTO (temperature dropped just below 1400 °F ) and caused
    S‐3016       the bypass damper for the booths/ovens to open. The outage was caused The damper was manually actuated into the position and production
    S‐3015       by a stuck combustion motor damper which controls the RTO burner.        started up again. As a preventative action, a new damper valve has been                 5/14/2022          In Compliance        NPS
    S‐4006       Upon investigation of the issue maintenance and engineers found that the ordered and installed during the July 4th shutdown.
                 damper had faulted out and was stuck and unable to open or close on it’s
    S‐3009       own.
   S‐32010

                 There was an unforeseen malfunction at the Clearcoat TO A‐30182 of the
                 3 wet‐system at the South Paint Shop. The TO (A‐30182) lost temperature
                 during production which triggered an emergency shutdown. This
                                                                                         The breakers were reset, the faults were cleared and the system was
                 malfunction resulted in the temperature of the TO (A‐30182) to drop
   A‐30182                                                                               restarted. As a preventative action Tesla will continue to monitor circuit               5/14/2022          In Compliance        SPS
                 below the permitted temperature of 1400 °F. The loss in temperature was
                                                                                         breakers and energy systems.
                 determined to be caused by 2 tripped circuit breakers. The tripped
                 breakers caused the system to lose power and enter an emergency
                 shutdown.


    S‐3008
                 There was an unforeseen breakdown/malfunction event at the NPS which
    S‐3014                                                                                As a corrective action Tesla replaced the filter to promote more air flow
                 caused the bypass damper for the booths/ovens to open. The root cause
    S‐3016                                                                                into the cabinet. As a preventative action Tesla is reducing the frequency              5/21/2022          In Compliance        NPS
                 of the event was an overheated drive cabinet that caused the RTO exhaust
    S‐3015                                                                                between filter changes to ensure the cabinets maintain adequate air flow.
                 air fan drive to shut down.
    S‐4006
    S‐3009
   S‐32010


                 There were unforeseen malfunctions at the prime and Clear Coat (CC)           Tesla has replaced all air flow switches on the system on 6/12/22. Upon
                 oven TO (A‐ 30183) of the 3 wet oven (S‐4039) at the South Paint Shop.        replacing all air flow switches Tesla found that the bladder of a removed
                 The TO (A‐30183) lost temperature during production, which triggered an       air flow switch to be torn preventing the air flow switch from functioning
A‐30183/S‐4039                                                                                                                                                                    5/28/2022          In Compliance        SPS
                 emergency shutdown. The malfunctions resulted in the temperature of           properly. Tesla has replaced all 4 air flow switches and added signal wires
                 the TO (A‐30183) to drop below the permitted temperature of 1400 °F.          to the air flow switch which will allow Tesla to diagnose which air flow
                 The shutdown was suspected to be caused by a faulty air flow switch.          switch is faulting in the future.




                 There was an unforeseen malfunction at the prime and Clear Coat (CC)          As an immediate corrective action controls adjusted the air flow switch,
                 oven TO (A‐ 30183) of the 3 wet oven (S‐4039) at the South Paint Shop.        and the 3 Wet oven was able to restart. Tesla has increased the frequency
                 The TO (A‐30183) lost temperature during production, which triggered an       of checks and preventative maintenance of the air flow switches. Tesla is
A‐30183/S‐4039   emergency shutdown. There were 24 units in the 3 wet oven during this         work with controls, maintenance, and facilities to address issues around            6/3/2022          In Compliance        SPS
                 event. This malfunction resulted in the temperature of the TO (A‐30183)       the air flow switches. This includes evaluating replacing the air flow
                 to drop below the permitted temperature of 1400 °F. The shutdown was          switches with a more robust solid‐state device or any additional controls
                 triggered by a fault air flow switch.                                         that can be added to the process.



                  There were three unforeseen malfunctions at the prime and Clear Coat
                                                                                               The team was able to restart the oven and the incinerator after the first
                 (CC) oven TO
                                                                                               two events. After the third event, the maintenance team replaced the
                 (A‐ 30183) of the 3 wet oven (S‐4039) at the South Paint Shop. The TO
                                                                                               flame detector the same day on June 4th. As a preventative action, Tesla
                 (A‐30183) lost temperature
A‐30183/S‐4039                                                                                 has implemented maintenance plan on a quarterly basis to inspect the                6/4/2022          In Compliance        SPS
                 during production, which triggered an emergency shutdown. This
                                                                                               flame detector. The maintenance checklist includes cleaning the sight
                 malfunction resulted in the temperature of the TO (A‐30183) to drop
                                                                                               glass, checking on sight tube for debris, vacuuming the sight tube, and
                 below the permitted temperature
                                                                                               inspecting the flame controller for flame signal.
                 of 1400 °F.The shutdown was triggered by a defective flame detector.


                                                                                               Controls adjusted the air flow switch, and the 3 Wet oven was able to
                 There were unforeseen malfunctions at the prime and Clear Coat (CC)
                                                                                               restart. After a couple of hours the air flow switch faulted again. As a
                 oven TO (A‐ 30183) of the 3 wet oven (S‐4039) at the South Paint Shop.
                                                                                               corrective action to the 2nd event Tesla bypassed the suspected faulty air
                 The TO (A‐30183) lost temperature during production, which triggered an
A‐30183/S‐4039                                                                                 flow switch and the 3 Wet oven was able to restart. As a corrective action          6/8/2022          In Compliance        SPS
                 emergency shutdown.. This malfunction resulted in the temperature of
                                                                                               Tesla has replaced all 4 air flow switches and added signal wires to the air
                 the TO (A‐30183) to drop below the permitted temperature of 1400 °F.
                                                                                               flow switch which will allow Tesla to diagnose which air flow switch is
                 The shutdown was triggered by a fault air flow switch.
                                                                                               faulting in the future.

    S‐3008
    S‐3014       There was an unforeseen breakdown/malfunction event at the North              The maintenance team found that the air line had split next to the
    S‐3016       Paint Shop (NPS) which caused the booths/ovens dampers to open. The           coupling. As a corrective action, the team cut back the damaged/fatigue
    S‐3015       RTO (A‐3008) temperature remained above 1400 F during the event. The          section of the line and reconnected it. As a preventative action, the               6/9/2022          In Compliance        NPS
    S‐4006       root cause was a broken air line for the absorption wheel collecting duct     maintenance team replaced the whole air line for the absorption wheel
    S‐3009       damper.                                                                       during the next system shutdown.
   S‐32010
                                       Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 21 of 33


        Source No        Deviation Summary                                                           Resolution Summary                                                              Date of Discovery       Compliance Status             Shop/Area


                         There was an unforeseen malfunction at the South Paint Shop E‐coat
                                                                                                   Two air flow switches were bypassed to allow the system to be restarted.
                         Thermal Oxidizer (TO). The malfunction was traced back to a faulty air
                                                                                                   As a preventative action Tesla installed a moisture trap as well as cleaned
    S‐1002/A‐30192       flow switch that caused the E‐Coat TO to lose temperature. The root cause                                                                                       6/13/2022              In Compliance                  SPS
                                                                                                   out the air flow switch lines every weekend to prevent a reoccurrence of
                         of the event was due to a thick tar like‐substance (plasticizer) build up
                                                                                                   this event.
                         within the air flow line switches.



                                                                                                  After the first event, the maintenance team cleaned out the sight glass of
                                                                                                  the flame detector and was able to restart the oven and achieve
                         There were two unforeseen malfunctions at the TO (A‐ 30183) of the 3
                                                                                                  production release. After the second event, upon a more detailed
                         wet oven (S‐4039) at the South Paint Shop. The TO (A‐30183) lost
                                                                                                  examination of the flame detector, maintenance found excessive burn
                         temperature during production, which triggered an emergency shutdown.
                                                                                                  mark at the center of the secondary sight glass. The team cleaned out the
    A‐30183/S‐4039       The malfunctions resulted in the temperature of the TO (A‐30183) to drop                                                                                   6/14/2022 / 6/15/2022       In Compliance                  SPS
                                                                                                  secondary sight glass and restarted the oven and incinerator. Tesla
                         below the permitted temperature of 1400 °F. The shutdown was
                                                                                                  rerouted the compressed air line to the flame detector sight glass to keep
                         suspected to be caused by a sight glass issue which resulted in flame
                                                                                                  the flame detector sight glass and secondary sight glass clear of debris.
                         failure.
                                                                                                  Tesla is also doing more frequent maintenance on a quarterly basis to
                                                                                                  inspect the flame detector and tubing.



                         There was an unforeseen malfunction at the prime and Clear Coat (CC)
                                                                                                     Upon investigation of the issue, technicians believed the issue to be a part
                         oven TO (A‐ 30183) of the 3 wet oven (S‐4039) at the South Paint Shop.
                                                                                                     of the flame detector system. Upon inspecting the detector and cleaning
                         The TO (A‐30183) lost temperature during production, which triggered an
                                                                                                     the sight glass, maintenance found that the flame detector was not
    A‐30183/S‐4039       emergency shutdown. The malfunctions resulted in the temperature of                                                                                             6/15/2022              In Compliance                  SPS
                                                                                                     signaling the system correctly. After some follow up tests, maintenance
                         the TO (A‐30183) to drop below the permitted temperature of 1400 °F.
                                                                                                     decided to wire a new connection from the flame detector to the
                         The shutdown was suspected to be caused by a faulty wire feeding the
                                                                                                     controller and bypass the old wiring which allowed the system to restart.
                         PLC panel from the flame detector system.

         S‐3008
         S‐3014          There was an unforeseen breakdown/malfunction event at the North            Upon investigation of the issue, the maintenance team found that the
         S‐3016          Paint Shop (NPS) which caused the booths/ovens dampers to open. The         airline had split next to the coupling. As a corrective and preventative
         S‐3015          RTO (A‐3008) briefly lost temperature but remained above 1378 F during      action, the maintenance team decided to replace the exposed portion of              6/20/2022              In Compliance                  NPS
         S‐4006          the event. The root cause was a broken air line for the absorption wheel    the line with a brand‐new weather resistant line. Tesla has provided
         S‐3009          collecting duct damper.                                                     documentation of the replacement and repair to the district inspector.
        S‐32010


                                                                                                  The controls team adjusted the air flow switch, and the 3 wet oven was
                         There was an unforeseen malfunction at the TO (A‐ 30183) of the 3 wet    able to restart. As a preventative action, Tesla has added signal wires to
                         oven (S‐4039) at the South Paint Shop. The TO (A‐30183) lost temperature the air flow switch which will allow Tesla to diagnose which air flow switch
                         during production, which triggered an emergency shutdown. This           is faulting in the future. In addition, Tesla has increased the frequency of
   A‐30183/S‐4039                                                                                                                                                                        6/21/2022              In Compliance                  SPS
                         malfunction resulted in the temperature of the TO (A‐30183) to drop      checks and preventative maintenance of the air flow switches. As a long‐
                         below the permitted temperature of 1400 °F. The shutdown was triggered term corrective action, Tesla is evaluating replacing the air flow switches
                         by a faulty air flow switch of the 3 wet oven.                           with a more robust solid‐state device or any additional controls that can
                                                                                                  be added to the process.



                         There were unforeseen breakdown/malfunction events at the South Paint
                         Shop that caused the TO (A‐30183) of the 3 Wet Oven (S‐4039) to lose
                                                                                                 As a preventative action contractors replaced the relay on the exhaust fan
                         temperature. This malfunction resulted in the temperature of the TO
        A‐30183                                                                                  motor. Documentation of the replacement has been provided to the air                    6/24/2022             In Compliance                   SPS
                         (A‐30183) to drop below the permitted temperature of 1400 °F. The
                                                                                                 district in a separate data request.
                         shutdown was triggered by an exhaust fan motor fault which was due to a
                         sticking relay.


                                                                                               Controls adjusted the air flow switch, and the 3 Wet oven was able to
                                                                                               restart. Tesla inspected all the air flow switches during the facility‐wide
                         There were unforeseen breakdown/malfunction events at the South Paint shut down and found that the tubing of the 3 wet oven incinerator air
                         Shop that caused the TO (A‐30183) of the 3 Wet Oven (S‐4039) to lose  flow switch was degraded. The team repaired all the damaged copper
        A‐30183          temperature. This malfunction resulted in the temperature of the TO   tubing for the air flow switches on July 4th. As a preventative action, Tesla             6/30/2022             In Compliance                   SPS
                         (A‐30183) to drop below the permitted temperature of 1400 °F. The     has increased the frequency of checks and preventative maintenance of
                         shutdown was triggered by a faulted air flow switch.                  the air flow switches. In addition, Tesla has added signal wires to the air
                                                                                               flow switch which will allow Tesla to diagnose which air flow switch is
                                                                                               faulting in the future.


Notes

1. For deviations associated with the paint shops; it is important to recognize that all systems are programmed in a manner where all production is stopped and cannot restart until the issue has been cleared. All production is instantly stopped
during these breakdown events; Production only restarts after abatement is back online and all safety criteria is met.
2. Tesla would like to note that the South Paint Shop body line would remain well under the permitted emission limits of 36.36 tons/month and 290.87 tons/year inclusive of the de‐minimis emissions from the aforementioned events
3. Tesla would like to note that the North Paint Shop would remain under the permitted POC emission limits of 603.02 tpy inclusive of the de-minimis emissions from the aforementioned events.
           Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 22 of 33
                                                                 45500 Fremont BLVD., Fremont CA 94578
                                                                        P 650 681 5100 F 650 681 5101




ATTACHMENT 3: LIST OF DEVIATIONS DURING THIS PERIOD (JULY 1ST, 2022 THRU DECEMBER 31ST, 2022)
                                                                                               Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 23 of 33




   Attachment 3 -
   Deviations List



     Time Period         July 1, 2022 through December 31, 2022



      Source No          Deviation Summary                                                               Resolution Summary                                                            Date of Discovery   Compliance Status    Shop/Area


   A-30183/S-4039
                         There was an unforeseen breakdown/malfunction events at the South Paint
                         Shop that caused the Clear Coat (CC) oven TO (A-30183) of the 3 Wet Oven As a corrective action, maintenance team removed the flame detector and
                         (S-4039) to lose temperature. The malfunctions resulted in the temperature thoroughly inspected it. The flame detector was newly replaced on June 6,
                                                                                                                                                                                           7/6/2022          In compliance         SPS
                         of the TO (A-30183) to drop below the permitted temperature of 1400 °F. 2022. To further prevent the issue, Tesla replaced the flame detector on
        S-4039
                         The root cause of this event is the flame amplifier shutter fault which    July 10, 2022.
                         faulted out the incinerator and the 3 wet oven.



                                                                                                         Controls team troubleshooted analog and digital sensors and adjusted set
                        There was unforeseen breakdown/malfunction events related to an                  points to make window of acceptable values larger based on data received
                        unknown/ hidden faulty signal at the North Paint Shop (NPS) which caused         by system and cleared faults. Issue persisted so control engineers
S-3008, S-3014, S-3016.
                        the booths/ovens dampers to oven. Due to the efforts to identify the root        monitored over 80 control signals to further investigate and pinpoint root
   S-3015, S-4006 (S-                                                                                                                                                                     7/20/2022          In compliance         NPS
                        cause and resolve the issue there was an event on 8/2/22 that required           cause. As soon as controls was able to pinpoint the issue with WA 511 BD
32006), S-3009, S-32010
                        maintenance to backtrack on adjustments. The root cause was a faulty             32 sensor, replacement process began. The set points (LV4592 VA306
                        pressure switch that was extremely difficult in nature to pin point.             BD32, LV4591 VA306 BV27 and LV4592 VA306 BV27) were readjusted and
                                                                                                         the temperature of the bed began to regulate within specification again.




                         There were unforeseen malfunctions at the Clearcoat (CC) Wheel/TOs
                         (Zone 3) of the 3 wet system at the South Paint Shop. The TO (A-30182) lost The first and second shutdown was triggered by a VFD fault because of an
                         temperature during production which triggered an emergency shutdown.        overload on the KZR motor. Upon further investogation, maintenance
       A-30182           This malfunction resulted in the temperature of the TO (A-30182) to drop found a tripped breaker in the PLC communication card. The breaker was                   8/5/2022          In compliance         SPS
                         below the permitted temperature of 1400°F and the VOCs were                 reset. Electrical checks of the KZR motor were conducted. As a preventative
                         recirculated back to the boot instead of being routed to abatement          action, a check on the KZR motor was scheduled during the next downtime.
                         systems.



                                                                                                         As a preventative plan, only controls engineers and the maintenance
                         There was an unforeseen malfunction event at the North Paint Shop (NPS)
                                                                                                         managers will be granted access to the system control panel for process
                         which caused the primer oven bypass dampers to open. During the event,
    S-3009/A-3008                                                                                        changes. The controls team will be required to consult with engineering and      8/24/2022          In compliance         NPS
                         the RTO (A-3008) temperature maintained above 1400°F. The root cause
                                                                                                         maintenance teams before making changes to the system to ensure correct
                         was the tripped exhaust fan at the primer oven.
                                                                                                         processing parameters.




                        There was an unforeseen breakdown/malfunction at the North Paint Shop
S-3008, S-3014, S-3016, (NPS) which caused the booths/ovens dampers to open. The RTO (A-3008)            Tesla is working with the manufacturer (Siemens) to recommend
   S-3015; S-4006(S-    briefly lost temperature but remianed above 1400°F during the event. The         modifications to the system to prevent future occurences when external            9/6/2022          In compliance         NPS
32006), S-3009, S-32010 root cause was overload on the exhaust motor due to excessive external           temperature exceed 100 °F for an extended amount of time.
                        heat affecting the Fremont area.




                         There was an unforeseen malfunction at the Prime and Clear Coat (CC)
                                                                                                   As an immediate corrective plan, the controls team inspected the elctrical
                         oven TO (A-30183) of the 3 wet oven (S-4039) at the South Paint SHop. The
                                                                                                   cabinet and found two blown fuses and one damaged thermal relay. As a
                         TO (A-30183) lost temperature during production, which triggered an                                                                                               9/6/2022          In compliance         SPS
                                                                                                   preventative plan, the maintenance team will thoroughly inspect elctrical
                         emergency shutdown. This resulted in the temperature of TO to drop below
                                                                                                   cabinet during the weekend shutdown.
                         1400 °F. The shutdown was triggered by a faulty elctrical cabinet.

    A-30183/S-4039

                                                                                                   As an immediate corrective action, the team cleared cleared the air flow
                         There was an unforeseen malfunction at the Prime and Clear Coat (CC)      switch line and inspected the air flow switch. As a preventative action, Tesla
                         oven TO (A-30183) of the 3 wet oven (S-4039) at the South Paint SHop. The replaced air flow switch on 09/18/22. Tesla has incresed the frequency of
   A-30183/S-4039        TO (A-30183) lost temperature during production, which triggered an       check and preventative maintenance of the air flow switches. As a long                 9/15/2022          In compliance         SPS
                         emergency shutdown. This resulted in the temperature of TO to drop below term corrective action, Tesla is evaluating replacing the air flow switches
                         1400 °F. The shutdown was triggered by a faulty air flow switch.          with a more robust solid state device or any additional controls that can be
                                                                                                   added to the process.



                         There was an unforeseen parametric monitoring excursion event at the
                         prime and Clear Coat (CC) oven TO (A-30183) of the 3 wet oven (S-4039) at
                         the South Paint Shop. The TO (A-30183) temperature erroneously appeared As a corrective and preventative action the controls team replaced the
   A-30183/S-4039                                                                                                                                                                         9/18/2022          In compliance         SPS
                         to read below 1400 °F. In actuality the TO was operating above 1400       faulty thermocouple on September 25, 2022.
                         temperature with no unbated emissions being released to the atmosphere.
                         The root cause was a faulty thermocouple that was recently replaced.



                         There was an unforeseen malfunction at the Prime and Clear Coat (CC)
                         oven TO (A-30183) of the 3 wet oven (S-4039) at the South Paint Shop. The As an immediate corrective action, the team checked the contactor and
                         TO (A-30183) lost temperature during production, which triggered an        tightened the screw to prevent future faults of the 3 wet oven. As a
   A-30183/S-4039                                                                                                                                                                         9/19/2022          In compliance         SPS
                         emergency shutdown. This resulted in the temperature of TO to drop below preventative action to this rare malfunction, Tesla inspected all contractors
                         1400 °F. The shutdown was triggered by a loose screw on a contactor as     for loose screws during the subsequent sunday shutdown.
                         part of the relay system for the air flow switch at the 3 wet oven zone 2.




                         Tesla exceeded permitted NOx limits at the castings operation. Tesla tuned      Tesla has reached out to multiple vendors and the furnace manufacturer to
                         the burners at both furnaces during commissioning and operational fine          assist in identifying options for further NOx reduction. All third-party
                         tuning activities and subsequently conducted a new source test in               vendors and the manufacturer confirmed that the current NOx ppm as
                         Sept/October 2021. The source test demonstrated a 27% and 29%                   achieved during the most recent source test is the lowest achievable for
    S-4045, S-4046       reduction in NOx at Furnace 1 and Furnace 2 respectively. On analysis of        stack melter type furnaces with the equipment available. Tesla is now in         9/20/2022        Interim compliance    Castings
                         annual emissions data during September 2022 (Post October 2021), it was         process of working with a 3rd party vendor to design, install and test an
                         identified that the daily limit specified in BAAQMD regulation 2 rule 2 of 10   oxygen burner at Furnace 1 to reduce NOx generation and reduce total
                         pounds per day were potentially exceeded on 73 days at Furnace 1 and 23         natural gas consumption. Tesla has submitted and is waiting on appproval
                         days at Furnace 2.                                                              of an application for a temporary PTO for Furnace 1 and 2.
                                                                                              Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 24 of 33




                        There was an unforeseen malfunction at the 3 Wet Oven System 2 of the 3
                        wet system at the South Paint Shop. The TO (A-30181) lost temperature
                        during production which triggered an emergency shutdown. This
                                                                                                  As a corrective and preventative action, Tesla replaced the thermocouple
       A-30181          malfunction resulted in the temperature of the TO (A-30181) to drop below                                                                                            9/26/2022            In compliance        SPS
                                                                                                  on October 2, 2022.
                        1400 and the VOCs were recirculated back to the booth instead of being
                        routed to abatement systems. The shutdown was triggered by a faulty
                        thermocouple that triggered the high temperature alarm.



                                                                                                      Tesla is working with a new vendor to overhaul the filter house structure
                                                                                                      for Filter House A-30193. These fixes will be implemented in October 2022
                        The Annual emission calculations indicate potential non compliance with
 A-30194, S-4045/A-                                                                                   and it is expected that the source testing scheduled in November 2022 for
                        the regulation/citation limits. These exceedances may have been due to a                                                                                            10/12/2022          Interim compliance   Castings
       30193                                                                                          Filter House A-30193 will show marked improvement and resolve any
                        structural integrity issue of the filter house.
                                                                                                      permit limit exceedances. Tesla is also evaluating a long term solution of
                                                                                                      replacement of filter houses with baghouses.



                        There was a malfunction at the E-Coat TO (A-30192). The TO lost
                                                                                                      To prevent any additional shutdowns during troubleshooting, Tesla decided
                        temperature during production which triggered an emergency shutdown.
                                                                                                      to allow the fan to operate at 37 Hz until the weekend shutdown when the
       A-30192          This malfunction resulted in the temperature of the TO to drop below 1400                                                                                           10/26/2022            In compliance        SPS
                                                                                                      issue can be fully diagnosed and resolved. The issue was resolved on
                        °F. The shutdown was triggered due to attempts to trouble shoot the fresh
                                                                                                      October 30, 2022
                        air VFD fan that brings fresh air to the incinerator.


                        There was an unforeseen malfunction event at the Plastics Paint Line. The
                        air line which provides air pressure to the exhaust damper of the RTO
                                                                                                       As an immediate corrective action, leaking part of the air line was replaced.
                        began leaking air causing the damper to shut and this opened the bypass
         TBD                                                                                           As a preventative action, Tesla has scheduled air line inspections annually          10/28/2022            In compliance        PPS
                        damper. The TO maintained a temperature greater than 1400°F the entire
                                                                                                       to identify and replace any air lines that seem compromised.
                        duration of the event. The root cause of the air leak was due to the air lines
                        being exposed to the environment and becoming brittle.

                        There was an unforeseen malfunction at the 3 Wet Oven System 2 of the 3
                        Wet system at the South Paint Shop. The temperature of the TO (A-30181)
                                                                                                As a corrective action, the motor was replaced on the following Saturday
       A-30181          dropped below 1400 °F while the bypass damper stayed closed the whole                                                                                               10/28/2022            In compliance        SPS
                                                                                                during the planned weekend system shutdown.
                        time during the event. The shutdown was triggered by a motor failure of
                        the solvent laden air fan at the air house.

                        There was an unforeseen malfunction at the Prime and Clear Coat (CC)
                        oven TO (A-30183) of the 3 wet oven (S-4039) at the South Paint Shop. The
                                                                                                   As an immediate corrective action, the team inspected the air flow switch
                        TO (A-30183) lost temperature during production which triggered an
   A-30183/S-4039                                                                                  and restarted the 3 wet oven and incinerator. As a preventative action, the               11/8/2022            In compliance        SPS
                        emergency shutdown. This malfunction resulted the temperature of TO to
                                                                                                   team further inspected the air flow switch during the weekend shutdown.
                        drop below 1400 °F. The shutdown was triggered by a faulty air flow switch
                        of the 3 wet oven caused by a contractor.

                        There was an unforeseen malfunction at the 3 Wet Oven System 2 of the 3
                        Wet system at the South Paint Shop. The temperature of the TO (A-30182) As a corrective action, the circuit breakers were replaced. Tesla believes the
       A-30182          dropped below 1400 °F while the bypass damper stayed closed the whole circuit breaker trips were due to a system overload and Tesla plans to                        11/19/2022            In compliance        SPS
                        time during the event. The shutdown was triggered by 2 tripped circuit  implement better overload protection to prevent future trips.
                        breakers in the main panel for system 3.

                        There was an unforeseen malfunction at the 3 Wet Oven System 3 of the 3
                                                                                                      As a corrective action, the circuit breakers were reset. Tesla believes the
                        wet-system at the South Paint Shop. The temperature of the TO (A-30182)
                                                                                                      circuit breaker trips were due to a device connected to an input card
       A-30182          dropped below 1400, while the bypass damper stayed closed the whole                                                                                                 11/22/2022            In compliance        SPS
                                                                                                      started to fail causing the circuit breaker to short. Tesla plans to implement
                        time during the event. The shutdown was triggered by a tripped circuit
                                                                                                      better overload protection to prevent future trips for the circuit breaker.
                        breakers in the main panel for system 3.

                       There were unforeseen breakdown/malfunction events at the North Paint
                                                                                                                                                                                            11/19/2022,
                       Shop (NPS) which was due to an inverter fault. It caused the ovens dampers As a preventative action, Tesla is working with Siemens to set up a yearly
S-4006, S-4010, S-3009                                                                                                                                                                 11/29/2022, 12/2/2022,     In compliance        NPS
                       to open. The root cause was clogged air fins inside the cabinet preventing cleaning of the air fins as part of a preventative maintenance plan.
                                                                                                                                                                                             12/4/2022
                       proper air flow causing a fault.


                        There were two unforeseen malfunctions at the 3 wet system at the South
                        Paint Shop. On 12/5/2022, temperature of TO dropped below 1400°F while
                                                                                                    As a corrective action, the team isolated the short of the cable and reset
                        the bypass damper stayed closed during the event. On 12/7/2022, the TO
                                                                                                    the circuit breaker. As a preventative action, the maintenance team will
       A-30182          temperature (A-30180, A-30181, A-30182) dropped below 1400°F and                                                                                               12/5/2022, 12/7/2022       In compliance        SPS
                                                                                                    replace the cable and inspect all cables in the control panel during the
                        emergency dampers opened during the event. Both the shutdowns were
                                                                                                    weekend system shutdown.
                        triggered by a tripped circuit breaker in the main panel for system 3 which
                        caused the system to lose power.

                        There was an unforeseen malfunction at the 3 wet system at the South
                        Paint Shop. The TO temperature dropped below 1400°F while the bypass          As a corrective action, Tesla isolated the shorted wire to prevent future
       A-30182          damper stayed closed during the event. The shutdown was triggered by a        events with a tentative plan in place to replace the wire over the next               12/13/2022            In compliance        SPS
                        tripped circuit breaker in the main panel for system 3 which caused the       shutdown.
                        system to lose power.

                        Tesla exceeded permitted NOx limits at the castings operation. Tesla tuned Tesla has reached out to multiple vendors and the furnace manufacturer to
                        the burners at both furnaces during commissioning and operational fine        assist in identifying options for further NOx reduction. All third-party
                        tuning activities and subsequently conducted a new source test in             vendors and the manufacturer confirmed that the current NOx ppm as
                        Sept/October 2021. The source test demonstrated a 27% and 29%                 achieved during the most recent source test is the lowest achievable for
    S-4045, S-4046      reduction in NOx at Furnace 1 and Furnace 2 respectively. On analysis of      stack melter type furnaces with the equipment available. Tesla is now in              12/16/2022          Interim compliance   Castings
                        annual emissions data during September 2022 (Post October 2021), it was process of working with a 3rd party vendor to design, install and test an
                        identified that the daily limit specified in BAAQMD regulation 2 rule 2 of 10 oxygen burner at Furnace 1 to reduce NOx generation and reduce total
                        pounds per day were potentially exceeded on 103 days at Furnace 1 and 28 natural gas consumption. Tesla has submitted and is waiting on appproval
                        days at Furnace 2.                                                            of an application for a temporary PTO for Furnace 1 and 2.




                        There was an unforeseen malfunction at the Sealer Oven TO at the South
                                                                                                    After multiple efforts to rectify the situation, maintenance determined the
                        Paint Shop. The TO temperature dropped below 1400°F. The shutdown was
                                                                                                    unit would have to go offline and cool down to allow for a prolonged
       A-1007           triggered by a stuck "dog" - a transporter that allows cars to move through                                                                                         12/16/2022            In compliance        SPS
                                                                                                    repair. Maintenance then initiated a controlled shutdown of the oven and
                        the oven. Tesla estimates no unabated emissions were released during this
                                                                                                    TO to allow for prolonged work within the oven.
                        event.



                        There was an unforeseen breakdown/malfunction event at the North Paint As a corrective action, the thermal event was contained and system was
                        Shop (NPS) which caused the E-Coat ovens dampers to open. The RTO (A- brought back to service. As a preventative action, maintenance has
       S-32006          3008) temperature maintained above 1400 °F during the event. The root     extended its maintenance window to ensure cleaning of the oven, sensor                    12/17/2022            In compliance        NPS
                        cause was a thermal event that was caused when a failed sensor was struck and chains. Additionally, production will trial a new sensor that may be
                        causing an arching that ignited oil on the drive chain.                   more capable of preventing such events.
          Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 25 of 33
                                                       45500 Fremont BLVD., Fremont CA 94578
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ATTACHMENT 4: ANNUAL COMPLIANCE CERTIFICATION (2022)
           Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 26 of 33
                                                                 45500 Fremont BLVD., Fremont CA 94578
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ATTACHMENT 3: LIST OF DEVIATIONS DURING THIS PERIOD (JANUARY 1ST, 2023 THRU JUNE 30TH, 2023)
                                                                                   Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 27 of 33




Attachment 3 - Deviations List
Time Period                January 1, 2023 through June 30, 2023
Source No.                 Deviation Summary                                             Resolution Summary                                                           Date of Discovery   Compliance Status     Shop/Area
                           Unforeseen malfunction at the Sealer Oven and TO (S-          As a corrective action the flame detector was replaced with an available
                           1007/A-1007) at the South Paint Shop. The Sealer Oven TO spare. The flame detector was last switched out approximately 2 years
                           (A-1007) lost temperature during production which             ago, the average life span of a flame detector is expected to be 5 years. As
                           triggered an emergency shutdown. This malfunction             a preventative action Tesla will conduct more frequent inspections of the
      S-1007/A-1007        resulted in the temperature of TO to drop below 1400°F.       flame detector and conduct change outs as necessary.                               1/5/2023      In compliance               SPS
                           The root cause of the event is a faulty flame detector on the
                           sealer TO which was intermittently reading a flame when no
                           flame was present.
                             S-4045 was not tested for NOx and CO in CY2022 due to         Tesla plans to source test S-4045 for CO and NOx early in 2023 based on                        In compliance
          S-4045             issues with equipment and source test scheduling.             the availability of source testers and equipment maintenance schedule.          1/6/2023       (Source Test             Castings
                                                                                                                                                                                          Completed)
                             Unforeseen malfunction at the System 2 of the 3 wet-system Improved training for technicians; Tesla believes emissions related to
                             at the South Paint Shop caused bypass dampers at A-30181 solvent laden air within the booth at the time of the damper opening to
                             to open momentarily. The shutdown was triggered by a       be minimal. Tesla also notes that the South Paint Shop body line are
         A-30181             technician who restarted the system instead of resetting a under the permitted emission limits of 36.36 tons/month and 290.87                1/10/2023       In compliance               SPS
                             fault at the air flow switch.                              tons/year inclusive of these events.


                             Unforeseen malfunction at the E coat oven TO (A-30192) of To prevent any additional shutdowns due to trouble shooting, the
                             the 3 wet system at the SPS. This malfunction resulted the  controls team changed the pressure differential set point to allow
         A-30192             temperature of TO to drop below 1400°F. The shutdown        operation of the system at the minimum pressure differential value               1/19/2023       In compliance               SPS
                             was due to troubleshooting events at E-coat oven to improve without triggering alarm or system shutdown.
                             production and product quality.
                                                                                         The controls team cleaned out the air supply line, inspected the wiring
                                                                                         and removed the filter. The pressure was increased to 7.0 inWC and the
                             Unforeseen malfunction at the E coat oven TO (A-30192) of system was able to restart afterwards. As a preventative action, the
                             the 3 wet system at the SPS. This malfunction resulted the  controls team is going to implement additional monitoring by adding
         A-30192             temperature of TO to drop below 1400°F. The shutdown                                                                                          2/6/2023       In compliance               SPS
                                                                                         different setpoints of pressure differential to the controls system for
                             was triggered by a mechanical obstruction on the pressure early detection.
                             differential signal.



                                                                                                                                                                                          Pending changeover
                                                                                                                                                                                          to back-up TO
                                                                                     Tesla sourced and replaced the A-30183 TO burner with a new burner
                                                                                                                                                                                          (Source retest with
                             A-30183 exceeds permitted NOx Emissions of 0.1 lb/MMBtu and conduced a source re-test. An application has been submitted in
         A-30183                                                                                                                                                          2/13/2023       new burner showed           SPS
                             per source test submitted on February 13, 2023          December 2022 to permit a back-up TO which would then enable A-
                                                                                                                                                                                          in compliance for
                                                                                     30183 to be taken down for maintenance
                                                                                                                                                                                          NOX and not in
                                                                                                                                                                                          compliance for CO)


                             Tesla conducted Air District                                  Tesla will be conducting a follow up source test for metals from Furnace-
                             approved source testing for metals & PM on Furnace            1 (S-4045) in March 2023 using another source testing vendor
                             1/Abatement Filter (S-4045/A-30193) and NOx &                 (Montrose) to validate these results, evaluate if updates to permitted
                                                                                                                                                                                          Pending Source Test
      S-4045/S-4046          CO on Furnace 2 (S-4046) during December 2022. Non            limits for metals are                                                          2/17/2023                                 Castings
                                                                                                                                                                                          Review
                             compliance with the permitted metal limits for As (Hourly)    required and evaluate further fixes to the filter house in the interim.
                             and As, Be, Cd, Mg and Se were observed (Annual) in           Tesla is also in the process of finalizing a vendor to replace these filter
                             addition to NOx daily limit exceedance for S-4046             houses with baghouses

                             Unforeseen malfunction at the Prime and Clear Coat Oven
                             TO (A-30183) of the 3 wet oven (S-4039) at the South Paint
                             Shop. External contractors were working on installing a new
                             device for automated pressure drop monitoring across the As an immediate corrective action, the team inspected the air flow
                             filters at the 3 wet oven. The air flow switch and the filter switch and restarted the 3 wet oven and incinerator. As a preventative
     A-30183 / S-4039                                                                                                                                                      4/2/2023       In compliance               SPS
                             pressure drop monitor uses the same airline, therefore        action, all future installations will be scheduled only during periods of
                             during the installation – the system faulted and shutdown     downtime and not during production.
                             the oven/TO system. The contractors were not aware of the
                             configuration of the system and that it could result in a
                             shutdown
                             Unforeseen malfunction at the basecoat booth (S-4037) at
                             the South Paint Shop. Tesla had external contractors
                             installing devices for automated pressure drop monitoring
                             across the various filters at SPS Body Line, around the
                                                                                         The bypass damper of the basecoat booth opened as part of the restart
                             vicinity of ASH (Air Supply House) #3. The ventilation at
          S-4037                                                                         process. As a preventative action, all future installations will be               4/2/2023       In compliance               SPS
                             ASH #3 was found off, which is the only way to shut the
                                                                                         scheduled only during periods of downtime and not during production.
                             system off. A probable cause is that an external contractor
                             may have turned off the recirculating fan for the basecoat
                             booth by mistake thereby forcing a complete system restart
                             by the maintenance/controls team
                                                                                           Maintenance is not a factor due to the nature of the equipment (no
                             Unforeseen malfunction at the Basecoat Booth (S-4037) of      moving parts/motors). Replacing the entire PLC rack would prevent
                             the 3 wet process at the South Paint Shop. The shutdown       similar fault events from occurring due to this PLC rack - which was
          S-4037             was triggered by a VFD fault which caused a loss of the       completed during the weekend shutdown. Tesla would like to reiterate            4/6/2023       In compliance               SPS
                             production release to the 3 wet system. The cause of this     that the breakdown was not a result of negligence or improper operation
                             fault was due to an internal issue with the PLC rack          of the equipment from Tesla team.

                                                                                         Tesla has incorporated the following immediate and preventative
                             Unforeseen malfunction at the CC Booth (S‐4038) of the 3    corrective action: Contracted with ACE electrical who performed a site
                             wet booth system. Overload fault on a (VFD) associated with inspection and worked on the supply fan which included tensioning the
                             the CC ASH (#4). This shut off the supply fan which         fan belts, switching out the motor, and aligning the sheaves; Tesla’s
                             automatically shuts off two additional exhaust motors for   internal SPS team deactivated the “Zone Start” function from the logic,
          S-4038                                                                                                                                                          4/18/2023       In compliance               SPS
                             safety reasons. The entire system was restarted which       which will prevent future zone restart sequences from the control panel;
                             caused the bypass damper on the Clearcoat booth to open     and Implemented training for Technicians to run specific restart
                             for less than one minute. TO temperature was not affected sequences in responses to similar faults, instead of zone restarts.
                             during this event.

                                                                                           Tesla had a third-party vendor install and test an oxy-fuel burner at
                                                                                           Furnace 1 (S-4045), as authorized under the temporary permit (App
                                                                                           #31592). Tesla is also in discussions with Striko and additional third-
                                                                                           party vendors to evaluate the burners and potentially trial a different
                                                                                                                                                                                                                Castings (Source
          S-4045             Source testing on Furnace 1 (NOX Exceedance)                  burner at Furnace-1/or install a wet scrubber system at Furnace-1.             4/21/2023       Interim Compliance
                                                                                                                                                                                                                      Test)
                                                                                   Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 28 of 33




Attachment 3 - Deviations List
Time Period                January 1, 2023 through June 30, 2023
Source No.                 Deviation Summary                                           Resolution Summary                                                         Date of Discovery   Compliance Status     Shop/Area
                                                                                       During the following weekend’s shutdown, the faulty I/O card was
          A-3008
                            The RTO bed temperature sensor lost signal which caused replaced with a new card to prevent potential future faults that may
                                            the RTO to shut down. As a                 occur due to this I/O card. A photo of the I/O card that was replaced was
      S-3009,S-3008        result, the Ecoat oven (S-4006/S-32006), Clearcoat oven (S- included in the response to BAAQMD’s follow‐up data request sent via e‐
                                     4010/S-32010), and Prime oven (S-3009)            mail on May 4th, 2023. In this instance, a PM check will be instituted for       4/25/2023     In compliance              NPS
          S-4006            along with booths lost production release and the bypass inspecting the housing of the mid bed thermocouple on a semi-annual
                                   dampers opened for each oven along with the         basis to check for condensation.
S-4010, S-3014. S-3015 and                        desorb damper
          S-3016
                                                                                           Since the event, Durr (external vendor for the new installation project)
                                                                                           and Tesla have actively evaluated the event and determined that there
                             Thermal event and smoke was observed from the roof of the were no changes to oven and thermal oxidizer setpoints i.e. no process
                             Ecoat oven at the South Paint Shop. Tesla's internal fire     changes made to the temperatures or air flow in/out of oven system.
                             safety team instructed the team to shutdown the TO for        Additional corrective action taken following the event were to replace or
     S-1002 / A-30192        inspection. A probable root cause was investigated due to a repair insulation and cladding where thermal event occurred,                   5/3/2023      In compliance              SPS
                             new installation on the E-coat oven (additional fans were     surrounding areas of “bulb turn” on the ceiling and around the newly
                             installed to provide recirculated heat to a section of the e- installed ducts. The fans have not been turned on post this event.
                             coat oven along with installation of cladding)).



                                                                                           The Controls team reengaged communications as an immediate
                                                                                           corrective action. Due to the nature of the root cause, it would not be
                             The E-coat oven lost production release. Extensive            possible to implement future preventative maintenance. However, the
                             troubleshooting determined the suspected root cause was a likelihood of a similar event occurring is exceptionally low. Tesla would
           S-4006                                                                                                                                                       5/3/2023      In compliance              NPS
                             faulty communication port that led to loss of control voltage like to reiterate that this deviation was not caused by faulty or improper
                             feedback signals and subsequent loss of production release operation of the booths, ovens, or abatement devices.


                                                                                        This correlates to the deviation on 4/25/2023, but replacing the I/O
           A-3008                                                                       card did not fix the issue. The team moved onto inspect the WA511
                              The RTO bed temperature sensor lost signal which caused temperature sensor. The temperature sensor housing was removed to
                                          the RTO to shut down. As a result,            inspect the wiring and condensation was observed which had damaged
        S-3009,S-3008        the Ecoat oven (S-4006/S-32006), Clearcoat oven (S-4010/S- the wiring. The wiring was fixed and the issue resolved. In this instance,
                                    32010), and Prime oven (S-3009), along with         a PM check will be instituted for inspecting the housing of the mid bed         5/8/2023      In compliance              NPS
           S-4006              booths lost production release and the bypass dampers    thermocouple on a semi-annual basis to check for condensation.
                                     opened for each oven along with the desorb
                                                       damper
S-4010, S-3014. S-3015 and
          S-3016
                                                                                           Performed immediate troubleshooting protocol, including: reset and
                                                                                           restart of the TO that resulted in an immediate fault, placed the unit in
                                                                                           disconnect and locked out, removed the peckerhead cover to find a
                                                                                           burnt terminal connection, megged the motor (good), tested continuity
                                                                                           (passed), tested short to ground (passed). Immediate corrective actions:
                             Ecoat TO went into emergency shutdown due to an
                                                                                           the burnt part of wiring was cut off and wiring was stripped back. Motor
     S-1002 / A-30192        overcurrent fault on the combustion fan VFD. The                                                                                           6/3/2023      In compliance              SPS
                                                                                           and power leads were reconnected using an insulation lug. Connections
                             overcurrent shorted housing to the blower's motor.
                                                                                           were taped. Reset and restarted the TO. TO went through purge
                                                                                           reignited with no issues. Preventative corrective action: a new motor
                                                                                           was staged near the TO for rapid lineside repair if needed in the future.


                                                                                           Tesla implemented immediate corrective action by tightening the nuts
                             Prime Booth - Actuator had a loose linkage going to a valve   on the linkage. SPS has not previously encountered loose linkage
           S-4036            that controls volume of gas going into the burner.            resulting in a burner fault, and will implement inspections of               6/4/2023      In compliance              SPS
                             Insufficient gas volume was going into the burner.            nuts/linkages into preventative maintenance moving forward.

                                                                                      The exceedance to the PM limit when the metal limits were in
                                                                                      compliance is surprising and does seem to be an unexplained outlier, as
                             Retest was conducted on Furnace-1 (S-4045/A-30193) in    prior source testing values were below the permitted PM limit of 0.040
                             March 2023 using another source testing contractor       lb PM10/ton Al (December 2022 testing; a
                             (Montrose Air Quality Services, LLC) and results         value of 0.0120 lb PM10/ton Al was observed). A further round of source
                             submitted to the source test Division on June 14, 2023.  testing for PM (at both inlet and outlet of the filter-house) will be                           Pending Source Test
     S-4045/A-30193                                                                                                                                                     6/14/2023                              Castings
                             Source test results show marked improvement to the metal scheduled in the upcoming quarter for Furnace-1 to evaluate the root-                           Review
                             emission limits outlined under Part 4 and Part 5 of the  cause of the PM exceedance along with
                             permit condition 27327; however, the                     further filter house checks. Tesla has also received quotes from vendors
                             exceedance in the PM limit was observed for Furnace-1    to replace these filter houses with baghouses and is waiting
                                                                                      on one more quote to proceed with finalizing the vendor

                                                                                           Immediate inspection found the motor for the prime booth exhaust fan
                                                                                           (BEF 101) was down and the associated breaker had been tripped.
                                                                                           Typically, a ground VFD fault indicated damage to the motor which
                             ASH-1 (Air supply house for prime booth) experienced a
                                                                                           would require a replacement. However, a physical inspection of BEF 101
           S-4036            fault, which necessitated a reset of the system and the                                                                                    6/25/2023     In compliance              SPS
                                                                                           found no mechanical or electrical issues. During the following weekend’s
                             bypass damper for the prime booth opening.
                                                                                           shutdown, an insulation test was performed on both the motor and
                                                                                           connected cable, which both passed.

Notes
1. No active production during any malfunction events associated with the paint shops which have been reported above (residual offgassing only)
Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 29 of 33




    Exhibit B
                                             Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 30 of 33




PRR NOV Information
Tesla, Inc
45500 Fremont Blvd
Fremont CA 94538


Total Number of Results: 163
                                             Issuance Date    Regulatory                                                        Comments from Enforcement
Violation No.        Site No.   Sitename
                                                               Citation
     A58777           A1438     Tesla, Inc        2/25/2021    2-6-307     s-1002 not abated at all times by SPS TO A-30192; POC emissions at NPS not abated at all times.
     A60205           A1438     Tesla, Inc        4/13/2021    2-1-307     S-1002 was not abated at all times of operation by A-30192 (RCA #07Y57)
     A60209           A1438     Tesla, Inc        5/25/2021    2-6-307     Late submittal of source test report for NPS, SPS body, and plastics pain line.
     A60210           A1438     Tesla, Inc        5/25/2021    2-6-307     Source test exceedance os-7733 NST-6211, OS-7996 NST-6211B, and OST-7997 NST-6247B.
     A60213           A1438     Tesla, Inc        7/28/2021    2-6-307     S-1002 was not abated at all times of operation by A-30192 (RCA# 08A40 & 08A41).
     A60214           A1438     Tesla, Inc        7/28/2021    2-6-307     Furnace hourly throughput exceedance (Dev #6422)
     A60215           A1438     Tesla, Inc        9/14/2021    2-6-307     S-4039 was not abated at all times of operation by A-30183 (RCA #08B28-29)
     A60216           A1438     Tesla, Inc        10/7/2021    2-6-307     s-4039 was not abated at all times of operation by a-30183 rcas 08B56-57, 08B65-66, 08B68-69, 08B77.
     A60217           A1438     Tesla, Inc       10/12/2021    2-6-307     RCA 08B80, 81 S-4036, 4037 & 4038 were not abated at all times of operation by the respective TO
     A60218           A1438     Tesla, Inc       10/29/2021     1-523.3    Parametric monitor excursion at TO A-30181 was not reported to the District within 96 hours.
     A60219           A1438     Tesla, Inc        11/8/2021    2-6-307     Missing daily pressure drop records at A-30186 & A-30187 per PC #27161.
     A60220           A1438     Tesla, Inc        11/8/2021    2-6-307     NPOC emissions limit exceeded per PC #26999, Part 2.b.
     A60222           A1438     Tesla, Inc       11/30/2021    2-6-307     Annual emissions exceedances per PC #27327 part 7.
     A60223           A1438     Tesla, Inc        12/7/2021    2-6-307     s-4039 was not abated at all times of operation by a-30183 rca 08C28-29.
     A60224           A1438     Tesla, Inc       12/21/2021    2-6-307     Title V Requirement/Permit Condition Violation. S4039 was not abated at all times of operation.
     A61153           A1438     Tesla, Inc         2/7/2022    2-6-307     Failure to meet Permit Condition. Emissions from the bumper booths and ovens not abated (RCA 08D56)
     A61154           A1438     Tesla, Inc        2/24/2022    2-6-307     S-1002 was not abated at all times of operation by a-30192 (RCA# 08E30 + 08E31)
     A61155           A1438     Tesla, Inc        4/25/2022    2-6-307     S-4039 was not abated at all times of operation by A-30183 (RCA# 08G03-04).
     A61156           A1438     Tesla, Inc        4/25/2022    2-6-307     S-1007 was not abated at all times of operation by A-1007 (RCA# 08G20).
     A61157           A1438     Tesla, Inc        4/28/2022    2-6-307     NPS ovens and booths not abated at all times of operation RCA#08F57-58.
     A61158           A1438     Tesla, Inc        4/28/2022    2-6-307     Oven not abated at all times of operation RCA 08F69.
     A61159           A1438     Tesla, Inc        4/28/2022    2-6-307     Oven not abated at all times of operation RCA#08F78-79.
     A61604           A1438     Tesla, Inc         5/2/2022    2-6-307     POC/NPOC emissions were not abated at all times of operation.
     A61160           A1438     Tesla, Inc        5/12/2022    2-6-307     NPS ovens & booths not abated at all times of operation (RCA# 08G83 & 08G84).
     A61161           A1438     Tesla, Inc         6/1/2022    2-6-307     s-1002 was not abated at all times of operation 08H45-46.
     A61162           A1438     Tesla, Inc         6/1/2022    2-6-307     S-4036 4037 and 4038 were not abated at all times of operation RCA 08H52-53.
     A61163           A1438     Tesla, Inc        6/16/2022    2-6-307     S-4039 was not abated at all times of operation by A-30183 (RCA 08H37 - 38).
     A61164           A1438     Tesla, Inc        6/16/2022    2-6-307     S-4039 was not abated at all times of operation by A-30183 (RCA 08H64-65)
     A61165           A1438     Tesla, Inc        6/16/2022    2-6-307     NPS ovens and booths not abated at all times of operation (RCA 08H84 - 85).
     A61166           A1438     Tesla, Inc        6/27/2022    2-6-307     S-4039 was not abated at all times of operation (RCA 08H95-96, 08J13-14, 08J25-26)
     A61167           A1438     Tesla, Inc        7/12/2022    2-6-307     s-4039 was not abated at all times of operation rca08J15-16 & 35-36.
     A61168           A1438     Tesla, Inc        7/12/2022    2-6-307     NPS ovens and booths not abated at all times of operation rca08J27-28 and 48-49
     A61169           A1438     Tesla, Inc        7/12/2022    2-6-307     s-1002 was not abated at all times of operation rca 08J31-32.
     A61170           A1438     Tesla, Inc        7/12/2022    2-6-307     S-4039 was not abated at all times of operation RCA 08J58-59
     A61174           A1438     Tesla, Inc        9/12/2022    2-6-307     S-4039 was not abated at all times of operation RCA#08J95-96




                                                                                          1/18/2024 8:59:21 PM
                              Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 31 of 33



A61175   A1438   Tesla, Inc      9/12/2022    2-6-307     NPS ovens/booths not abated at all times RCA#08K36-43, 08K47-48, 08K50-51, 08K56-59.
A61177   A1438   Tesla, Inc      9/22/2022    2-6-307     S-3009 not abated at all times of operation (RCA 08L22)
A61753   A1438   Tesla, Inc     10/11/2022    2-6-307     s-4039 not abated at all times of operation rca 08L88-89.
A61754   A1438   Tesla, Inc     10/17/2022    2-6-307     S-4039 was not abated at all times of operation RCA 08M09
A61756   A1438   Tesla, Inc     11/14/2022    2-6-307     S-1002 was not abated at all times of operation RCA #08M75-76
A61757   A1438   Tesla, Inc     11/14/2022    2-6-307     Emissions from bumper booths & ovens not abated (RCA# 08M83)
A61758   A1438   Tesla, Inc      12/7/2022    2-6-307     S-4039 was not abated at all times of operation RCA #08N16
A61759   A1438   Tesla, Inc     12/14/2022    2-6-307     NPS ovens / booths not abated at all times (RCA #08N49-50, #08N85-86, #08N91-92, #08N93-94).
A61761   A1438   Tesla, Inc      1/11/2023    2-6-307     Missed annual source test for NOx & CO
A61763   A1438   Tesla, Inc       2/8/2023    2-6-307     S-4036, S-4037. S-4038 were not abated at all times of operation (RCA 08P06).
A61769   A1438   Tesla, Inc       4/3/2023    2-6-307     S-4037 was not abated at all times of operation RCA 08Q02
A61770   A1438   Tesla, Inc       4/3/2023    2-6-307     S-1002 was not abated at all times of operation RCA 08Q24 08Q25
A61771   A1438   Tesla, Inc       4/3/2023    2-6-307     S-1002 was not abated at all times of operation RCA 08Q58 08Q59
A61774   A1438   Tesla, Inc      4/26/2023    2-6-307     S4037 was not abated at all times of operation (RCA#08R91 & 08R92)
A61775   A1438   Tesla, Inc      4/26/2023    2-6-307     S4039 was not abated at all times of operation
A61777   A1438   Tesla, Inc      5/16/2023    2-6-307     N/A
A62128   A1438   Tesla, Inc      5/23/2023    2-6-307     S-4038 was not abated at all times of operation (RCA 08S19).
A62129   A1438   Tesla, Inc      6/12/2023    2-6-307     NPS booths & ovens were not abated at all times of operation (Dev #7496 & #7520).
A62132   A1438   Tesla, Inc      6/22/2023    2-6-307     S-1002 was not abated at all times of operation (RCA #08S41 & 08S42)
A62133   A1438   Tesla, Inc      6/22/2023    2-6-307     S-4006 was not abated at all times of operation (RCA #08S45)
A62134   A1438   Tesla, Inc      7/13/2023    2-6-307     S1002 was not abated at all times of operation (RCA #08S94)
A62135   A1438   Tesla, Inc      7/13/2023    2-6-307     S4038 was not abated at all times of operation (RCA #08S95)
A62137   A1438   Tesla, Inc      7/19/2023   8-13-309.2   Open containers of solvent at spray gun washer.
A62137   A1438   Tesla, Inc      7/19/2023   8-13-309.3   Open containers of solvent at spray gun washer.
A62138   A1438   Tesla, Inc      7/19/2023    2-6-307     S-4006 not abated at all times of operation and deviation not reported per standard condition F.
A62139   A1438   Tesla, Inc      7/19/2023    2-6-307     S-3009 not abated at all times of operation and deviation not reported per standard condition F.
A62140   A1438   Tesla, Inc      7/19/2023    2-6-307     S-4010 not abated at all times of operation and deviation not reported per standard condition F.
A62141   A1438   Tesla, Inc      7/19/2023    2-6-307     S-3008 not abated at all times of operation and deviation not reported per standard condition F.
A62142   A1438   Tesla, Inc      7/19/2023    2-6-307     s-3014 not abated at all times of operation and deviation not reported per standard condition F.
A62143   A1438   Tesla, Inc      7/19/2023    2-6-307     S-3016 not abated at all times of operation and deviation not reported per standard condition F.
A62145   A1438   Tesla, Inc       8/4/2023    2-6-307     S4036 was not abated at all times of operation (RCA# 08T22)
A62146   A1438   Tesla, Inc       8/4/2023    2-6-307     S4036, S4037 & S4038 was not abated at all times of operation (Dev #7557)
A62147   A1438   Tesla, Inc       8/4/2023    2-6-307     S1002 was not abated at all times of operation (RCA# 08T48 & 08T49)
A62148   A1438   Tesla, Inc       8/4/2023    2-6-307     S4039 was not abated at all times of operation (RCA# 08T55 & 08T56)
A62150   A1438   Tesla, Inc      8/21/2023    2-6-307     S4006 not abated at all times of operation & deviation not reported per condition F
A62151   A1438   Tesla, Inc      8/21/2023    2-6-307     S3009 not abated at all times of operation & deviation not reported per condition F
A62152   A1438   Tesla, Inc      8/21/2023    2-6-307     S4010 not abated at all times of operation & deviation not reported per condition F
A62828   A1438   Tesla, Inc      8/21/2023    2-6-307     S3008 not abated at all times of operation & deviation not reported per condition F
A62829   A1438   Tesla, Inc      8/21/2023    2-6-307     S3014 not abated at all times of operation & deviation not reported per condition F
A62830   A1438   Tesla, Inc      8/21/2023    2-6-307     S3016 not abated at all times of operation & deviation not reported per condition F
A62831   A1438   Tesla, Inc      8/23/2023      CCR       Description of reason bypass opened and/or duration of bypass event not reported in Title V semi.
A62831   A1438   Tesla, Inc      8/23/2023    2-6-307     Description of reason bypass opened and/or duration of bypass event not reported in Title V semi.
A62832   A1438   Tesla, Inc      8/29/2023    2-1-320     NPS sources not operated in conformance w/throughput, emissions, & production representations
A62834   A1438   Tesla, Inc      8/31/2023    1-441.3     Information requested in the 1-441 letter was not provided in full by due date.
A62835   A1438   Tesla, Inc      9/14/2023    2-6-307     Failure to maintain records for at least 5yrs per Standard Condition E and PC 26027




                                                                         1/18/2024 8:59:21 PM
                              Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 32 of 33



A62835   A1438   Tesla, Inc      9/14/2023   2-6-501   Did not meet records keeping regulation for APCO review
A62836   A1438   Tesla, Inc      9/14/2023   2-6-307   Failure to maintain records for at least 5yrs per Standard Condition E and PC 27161
A62836   A1438   Tesla, Inc      9/14/2023   2-6-501   Did not meet records keeping regulation for APCO review
A62837   A1438   Tesla, Inc      9/14/2023   2-6-307   Failure to maintain records for at least 5yrs per Standard Condition E
A62837   A1438   Tesla, Inc      9/14/2023   2-6-501   Did not meet records keeping regulation for APCO review
A62838   A1438   Tesla, Inc      9/21/2023   2-6-307   Bypass event descriptions&durations not included in monthly compliance rpts & title V semiannual
A62838   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3168(b)(2)
A62839   A1438   Tesla, Inc      9/21/2023   2-6-307   Bypass event descriptions&durations not included in monthly compliance rpts & title V semiannual
A62839   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3168(b)(2)
A62840   A1438   Tesla, Inc      9/21/2023   2-6-307   Bypass event descriptions&durations not included in monthly compliance rpts & title V semiannual
A62840   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3168(b)(2)
A62841   A1438   Tesla, Inc      9/21/2023   2-6-307   Bypass event descriptions&durations not included in monthly compliance rpts & title V semiannual
A62841   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3168(b)(2)
A62842   A1438   Tesla, Inc      9/21/2023   2-6-307   S4037 not abated at all times of operation & events not reported in monthly & title V reports
A62842   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3168(b)(2)
A62843   A1438   Tesla, Inc      9/21/2023   2-6-307   S4038 not abated at all times of operation & events not reported in monthly & title V reports
A62843   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3168(b)(2)
A62844   A1438   Tesla, Inc      9/21/2023   2-6-307   HAP emissions from oven not abated by TO
A62844   A1438   Tesla, Inc      9/21/2023     10      40 CFR part 63 3092(b)
A62850   A1438   Tesla, Inc      10/2/2023   2-6-307   S-4039 not abated at all times of operation, non-compliance not reported
A62849   A1438   Tesla, Inc      10/2/2023   2-6-307   S-4038 not abated at all times of operation, non-compliance not reported
A62848   A1438   Tesla, Inc      10/2/2023   2-6-307   S-4037 not abated at all times of operation, non-compliance not reported
A62847   A1438   Tesla, Inc      10/2/2023   2-6-307   S-4036 not abated at all times of operation, non-compliance not reported
A62846   A1438   Tesla, Inc      10/2/2023   2-6-307   S-1007 not abated at all times of operation, non-compliance not reported
A62845   A1438   Tesla, Inc      10/2/2023   2-6-307   S-1002 not abated at all times of operation, non-compliance not reported
A62851   A1438   Tesla, Inc     10/17/2023   2-6-307   S-1002 was not abated at all times of operation RCA 08U61
A62852   A1438   Tesla, Inc     10/17/2023   2-6-307   S-4039 was not abated at all times of operation RCA 08U76-77
A63003   A1438   Tesla, Inc     10/24/2023   9-7-506   Annual emissions testing at S-80 not conducted in 2021
A63004   A1438   Tesla, Inc     10/24/2023   9-7-506   Annual emissions testing at S-81 not conducted in 2021
A63005   A1438   Tesla, Inc      11/8/2023   2-6-307   Missed annual source test for silica; deviation not reported per Standard Condition F
A63006   A1438   Tesla, Inc      11/8/2023   2-6-307   Bypass system was used for reasons other than emergency or maintenance
A63007   A1438   Tesla, Inc      11/8/2023   2-6-307   Bypass system was used for reasons other than emergency or maintenanace
A63008   A1438   Tesla, Inc      11/9/2023     10      40 CFR 63.3100(d) Failure to meet the general duty to minimize emissions at NPS
A63008   A1438   Tesla, Inc      11/9/2023     10      40 CFR 60.11(d) Failure to meet the general duty to minimize emissions at NPS
A63009   A1438   Tesla, Inc      11/9/2023   2-6-307   Throughput and POC emissions limits exceeded; late deviation reporting per Standard Condition F
A63010   A1438   Tesla, Inc     11/16/2023   2-6-307   POC emissions exceeded daily limit of 10 lb/day; late deviation reporting per standard condition F.
A63011   A1438   Tesla, Inc     11/16/2023   2-6-307   Annual POC emissions exceedance; late deviation reporting per standard condition F.
A63012   A1438   Tesla, Inc     11/22/2023   2-6-307   S-4006 not abated at all times of operation and deviation not reported per standard condition F.
A63013   A1438   Tesla, Inc     11/22/2023   2-6-307   S-3009 not abated at all times of operation and deviation not reported per standard condition F.
A63014   A1438   Tesla, Inc     11/22/2023   2-6-307   S-4010 not abated at all times of operation and deviation not reported per standard condition F.
A63015   A1438   Tesla, Inc     11/22/2023   2-6-307   S-3008 not abated at all times of operation and deviation not reported per standard condition F.
A63016   A1438   Tesla, Inc     11/22/2023   2-6-307   S-3014 not abated at all times of operation and deviation not reported per standard condition F.
A63017   A1438   Tesla, Inc     11/22/2023   2-6-307   S-3016 not abated at all times of operation and deviation not reported per standard condition F.
A63018   A1438   Tesla, Inc     11/29/2023   2-6-307   S-4036, S-4037 and S-4038 were not abated at all times of operation (RCA #08V03-04)
A63019   A1438   Tesla, Inc     11/29/2023   2-6-307   S-4039 was not abated at all times of operation (RCA #08V41-42)




                                                                      1/18/2024 8:59:21 PM
                              Case 3:24-cv-02888 Document 1 Filed 05/13/24 Page 33 of 33



A63020   A1438   Tesla, Inc     11/29/2023   2-6-307    S-4039 was not abated at all times of operation (RCA #08V45-46)
A63021   A1438   Tesla, Inc      12/5/2023   2-6-307    Failed to provide accurate monthly emissions reports from January-April 2023
A63022   A1438   Tesla, Inc      12/8/2023   8-13-503   Failure to maintain monthly record of the qty of coating applied daily to NPS, SPS & Plastics Paint
A63025   A1438   Tesla, Inc     12/18/2023   2-6-307    s-4006 was not abated at all times of operation (RCA #08V67).
A63027   A1438   Tesla, Inc     12/28/2023   2-6-307    S-4006 not abated at all times of operation and deviation not reported per standard condition F.
A63028   A1438   Tesla, Inc     12/28/2023   2-6-307    S-3009 not abated at all times of operation and deviation not reported per standard condition F.
A63029   A1438   Tesla, Inc     12/28/2023   2-6-307    S-4010 not abated at all times of operation and deviation not reported per standard condition F.
A63030   A1438   Tesla, Inc     12/28/2023   2-6-307    S-3008 not abated at all times of operation and deviation not reported per standard condition F.
A63031   A1438   Tesla, Inc     12/28/2023   2-6-307    S-3014 not abated at all times of operation and deviation not reported per standard condition F.
A63032   A1438   Tesla, Inc     12/28/2023   2-6-307    S-3016 not abated at all times of operation and deviation not reported per standard condition F.
A63033   A1438   Tesla, Inc       1/3/2024   2-6-307    S-4036, S-4037 & S-4038 were not abated at all times of operation (RCA #08V70-71)




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